Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 1 of 89 Page ID #:349



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 10
 11                         UNITED STATES DISTRICT COURT

 12                       CENTRAL DISTRICT OF CALIFORNIA

 13
      DENIECE WAIDHOFER, an individual;              Case No. 2:20-cv-06979
 14   MARGARET MCGEHEE, an individual;
 15   and RYUU LAVITZ, LLC, a                        FIRST AMENDED COMPLAINT
      Massachusetts limited liability company;       FOR DAMAGES AND OTHER
 16                                                  RELIEF
 17                                 Plaintiffs,
      v.
 18
 19   CLOUDFLARE, INC., a Delaware
      corporation; BANGBROS.COM, INC., a             [DEMAND FOR JURY TRIAL]
 20   Florida corporation; SONESTA
 21   TECHNOLOGIES, INC., a Florida
      corporation; MULTI MEDIA LLC, a
 22   California limited liability company;
 23   CRAKMEDIA INC., a Canadian
      corporation; and JOHN DOES 1-21, as-yet
 24   unidentified individuals,
 25
                                  Defendants.
 26
 27
 28
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 2 of 89 Page ID #:350



  1         Plaintiffs    Deniece     Waidhofer       (“Waidhofer”),     Margaret     McGehee
  2
      (“McGehee”), and Ryuu Lavitz LLC (“Ryuu Lavitz”) (collectively, “Plaintiffs”)
  3
  4   bring this amended complaint against Defendants Cloudflare, Inc. (“Cloudflare”);

  5   BangBros.Com, Inc.; Sonesta Technologies, Inc. (the previous two, together,
  6
      “BangBros”); Multi Media LLC (“Chaturbate”); CrakMedia Inc. (“CrakRevenue”);
  7
  8   and twenty-one John Doe Defendants that operated the pirate website Thothub.tv (the

  9   “Operators”) (collectively, “Defendants”), to recover damages, restitution, and other
 10
      relief for various violations of the Racketeering Influenced and Corrupt Organizations
 11
 12   Act (RICO), Copyright Act, and state law.

 13                            I.     SUMMARY OF THE CASE
 14
            1.     This is an action to stop and hold accountable the operators of a pirate
 15
 16   website called Thothub.tv (“Thothub”), as well as their co-conspirators and
 17   facilitators, for violating Plaintiffs’ registered copyrights and making use of Plaintiffs’
 18
      names, likenesses, and reputations without their consent.
 19
 20         2.     Plaintiffs are each creators on www.onlyfans.com (“OnlyFans”) and
 21   www.patreon.com (“Patreon,” and together with OnlyFans, the “Licensed Sites”),
 22
      two social media platforms that allow content creators to sell access to their works to
 23
 24   paid subscribers and fans. Plaintiffs’ published works consist of artistic, non-nude
 25
      photographs of themselves, mostly in lingerie or costume.
 26
 27
 28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 3 of 89 Page ID #:351



  1             3.     Thothub’s Operators and other members—with the support of the other
  2
      Defendants—caused Plaintiffs’ works to be unlawfully published on Thothub. This
  3
  4   caused monetary, personal, business, and property harm to Plaintiffs.

  5             4.     The Licensed Sites allow digital content creators to distribute their
  6
      photographic and audiovisual works to paid subscribers and to be compensated for
  7
  8   subscribers’ access to that content. Subscribers on the Licensed Sites pay for access

  9   to content from particular creators. Through the Licensed Sites, creators can keep
 10
      track of all the subscribers that have access to their works, and creators receive the
 11
 12   lion’s share of the money that their subscribers pay to view the works.

 13             5.     Thothub was a pirate site that billed itself as “the home of daily free
 14
      leaked nudes from the hottest Onlyfans … and [P]atreon models” and “the biggest e-
 15
 16   girl showcase in the world.”1 As one of the Operators, who went by the name “Captain
 17   Thotcakes,” explained in a pinned moderator message to new recruits: “We are
 18
      looking exclusively for PAID material / LEAKED photos and vids / PREMIUM
 19
 20   content. (Stuff that’s not easily available to the public / or is locked behind the paywall
 21   / subscription) Examples: Patreon, Onlyfans … stuff like that.” Nearly all the content
 22
      on Thothub was scraped from behind paywalls of the Licensed Sites. Thothub’s
 23
 24   primary purpose—the reason that it existed—was to publish this stolen paywalled
 25
      content and unlawfully distribute it to millions of its members and visitors.
 26
 27
      1
 28       Thothub apparently ceased operations days after the original complaint in this case was filed.


                                                         3
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 4 of 89 Page ID #:352



  1         6.    During its existence, the works of nearly every female OnlyFans or
  2
      Patreon creator were published on Thothub, and a library of nearly all this content
  3
  4   was available to Thothub members. Indeed, new Thothub members could only gain

  5   access to Thothub’s full library of content by providing new content stolen from the
  6
      Licensed Sites (and similar sites) that was not already on Thothub. In this way,
  7
  8   Thothub kept a comprehensive and constantly updated record of paid content stolen

  9   from the Licensed Sites, including Plaintiffs’ copyrighted works.
 10
            7.    Each day, Thothub transmitted several terabytes of digital content—each
 11
 12   terabyte equates to hundreds of thousands of photos or hundreds of hours of video—

 13   stolen from creators on the Licensed Sites. According to web traffic analytics,
 14
      Thothub received about one million unique visitors each day. By the time it was shut
 15
 16   down in the wake of this lawsuit, Thothub had over 1.1 million members. As a result
 17   of willful copyright infringement on Thothub, millions of people across the United
 18
      States viewed Plaintiffs’ copyrighted works without Plaintiffs’ consent.
 19
 20         8.    Thothub was home to a criminal enterprise. The site was run by shadowy
 21   figures using aliases who imposed a detailed structure on other users through defined
 22
      rules, privileges, and ranks. Their primary business was criminal copyright
 23
 24   infringement. In order to become a Thothub member, new users had to submit new
 25
      stolen content, like a street gang that requires commission of a crime to prove one’s
 26
      commitment to the gang. The Operators routinely posted “bounties” of creators whose
 27
 28   content they sought. If an aspiring new member provided stolen content on Thothub,


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 5 of 89 Page ID #:353



  1   the Operators rewarded the theft by bestowing greater rank and privileges within the
  2
      enterprise. It was effectively a pyramid scheme of copyright infringement.
  3
  4         9.     Defendant Cloudflare knowingly facilitated copyright infringement on

  5   Thothub and directly infringed Plaintiffs’ copyrights. Cloudflare distributed copies of
  6
      creators’ copyrighted works through its content delivery network (CDN) and thus
  7
  8   enabled Thothub to operate throughout the United States. Cloudflare also stored

  9   Thothub’s main pages, including pages featuring Plaintiffs’ works, on its own
 10
      network. And through a technique called an “Argo Tunnel,” Cloudflare ensured that
 11
 12   users could only access infringing content on Thothub via Cloudflare.

 13         10.    Cloudflare also concealed Thothub’s true ownership and server
 14
      locations. This is a major selling point for Cloudflare, which markets to pirate sites
 15
 16   by proclaiming that it will “mask” their IP and not cooperate with law enforcement.
 17   By providing service to pirates that other leading CDNs would not and ignoring repeat
 18
      infringement, Cloudflare has carved out a competitive niche for pirate businesses.
 19
 20   Cloudflare’s permissive approach to repeat infringement is why Thothub, as well as
 21   many other pirate sites, used Cloudflare’s services. Indeed, according to a recent
 22
      European Commission report, “Out of the top 500 infringing domains based on global
 23
 24   Alexa rankings, 62% (311) are using Cloudflare’s services.”
 25
            11.    Due to the numerous takedown requests it received about Thothub and
 26
      the obvious nature of Thothub’s piracy, among other things, Cloudflare knew or was
 27
 28   willfully blind to the rampant copyright infringement taking place on Thothub, yet


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 6 of 89 Page ID #:354



  1   Cloudflare continued to support this infringing activity. Cloudflare also took
  2
      deliberate steps to conceal its involvement by deleting copyrighted content from its
  3
  4   servers after being notified about infringement on Thothub, even as it continued to

  5   support the ongoing infringement by delivering the infringing works.
  6
            12.    Defendants BangBros and Chaturbate (the “Advertisers”) were prolific
  7
  8   advertisers on Thothub. Their advertisements appeared on all or nearly all Thothub

  9   pages where infringing content, including Plaintiffs’ copyrighted works, appeared on
 10
      the site. Chaturbate—one of the world’s largest live adult content companies—posted
 11
 12   dynamic advertisements on Thothub featuring direct, live video feeds of Chaturbate

 13   webcams at all times. Likewise, Thothub was flooded with BangBros ads that, if
 14
      clicked, took users directly to BangBros’ sales page.
 15
 16         13.    The Advertisers’ ads did not appear on Thothub randomly or by accident.
 17   Instead, through their shared advertising agent, CrakRevenue, the Advertisers
 18
      participated in a so-called “affiliate marketing” relationship with Thothub. As part of
 19
 20   this arrangement, the Advertisers, directly or indirectly through CrakRevenue, paid
 21   commissions to their affiliate, Thothub (or perhaps more accurately, the owners and
 22
      operators of Thothub), in exchange for Thothub driving leads and sales for the
 23
 24   Advertisers’ sites. On information and belief, commissions were paid to Thothub’s
 25
      owners (and other pirate sites) in whole or in part in cryptocurrency to prevent
 26
      detection, inhibit enforcement and collections, and minimize paper trails.
 27
 28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 7 of 89 Page ID #:355



  1         14.    The Advertisers have claimed that they had “no business association
  2
      with Thothub.” But on CrakRevenue’s website, it explains that “[t]he core of affiliate
  3
  4   marketing consists of a close relationship between advertisers (also known as

  5   ‘merchants’) and affiliates,” and “[t]his same relationship is governed by a thorough
  6
      set of rules and details: the affiliate program.” It continues: “Affiliates help advertisers
  7
  8   sell more of their products or services. In exchange, advertisers pay them back either

  9   a percentage or a fixed amount—what is known as a commission.”
 10
            15.    CrakRevenue provides “affiliate management” services to affiliates like
 11
 12   Thothub. As CrakRevenue’s website explains, “[t]he Affiliate Manager is acting on

 13   behalf of the advertiser and merchant,” and “[t]he Affiliate Manager develops,
 14
      supports and manages an affiliate program while offering dedicated help to the
 15
 16   affiliates which, in turn, helps drive the sales of the program.” Affiliate managers are
 17   “responsible for the recruitment and nurturing of affiliates throughout their online
 18
      marketing journey,” and “[o]ne of their key missions is to improve affiliate programs
 19
 20   by advising partners around the globe, thus helping them generate more revenue.” In
 21   short, on behalf of Advertisers, CrakRevenue managed a network of “affiliates”
 22
      (including Thothub) and advised affiliates to drive the Advertisers’ sales.
 23
 24         16.    Through affiliate commissions paid, the Advertisers effectively funded
 25
      Thothub’s operations. These payments enabled Thothub’s owners to pay for the
 26
      expensive hosting and content-delivery costs necessary to accomplish their
 27
 28   infringement, as one of Thothub’s main Operators stated in an online message board.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 8 of 89 Page ID #:356



  1   And the Advertisers, through their agent CrakRevenue, also provided affiliate-
  2
      management services in support of Thothub. Absent the Advertisers’ and
  3
  4   CrakRevenue’s financial and managerial support, Thothub would not have been able

  5   to commit copyright infringement at the enormous scale that it did.
  6
            17.    The Advertiser Defendants knew, and could not reasonably avoid
  7
  8   knowing, that Thothub was a pirate site. The Operators were open and notorious about

  9   the fact that Thothub trafficked in paid content stolen from the Licensed Sites, and
 10
      many prominent adult-oriented reviewers recognized this fact in their reviews of
 11
 12   Thothub. In addition, the Advertisers’ agent CrakRevenue vetted all affiliates,

 13   required them to provide information about their site, how they generated traffic, and
 14
      how they promoted offers, and helped affiliates to manage their sites. CrakRevenue’s
 15
 16   knowledge about Thothub is attributable to the Advertisers because CrakRevenue
 17   provided these services on behalf of the Advertisers.
 18
            18.    Despite knowing that Thothub routinely engaged in copyright
 19
 20   infringement (or such knowledge being attributable to them via their agent), the
 21   Advertisers and CrakRevenue materially assisted Thothub’s activities. The
 22
      Advertisers and CrakRevenue were thus involved in a RICO conspiracy with the
 23
 24   Operators to commit criminal copyright infringement.
 25
            19.    It is time for all those that enabled this criminal piracy operation to be
 26
      held accountable for their unlawful conduct in support of Thothub.
 27
 28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 9 of 89 Page ID #:357



  1                                      II.     THE PARTIES
  2
             20.    Plaintiff Deniece Waidhofer (“Waidhofer”) is an individual who resides
  3
  4   in Fort Bend County, Texas. She can be contacted through her attorneys.

  5          21.    Plaintiff Maggie McGehee (“McGehee”) is an individual who resides in
  6
      Tarrant County, Texas. She can be contacted through her attorneys.
  7
  8          22.    Plaintiff Ryuu Lavitz LLC (“Ryuu Lavitz”) is a limited liability company

  9   organized under the laws of Massachusetts. Ryuu Lavitz owns the copyrights for the
 10
      creative works of an individual who goes by this name on the Licensed Sites and other
 11
 12   public platforms. Ryuu Lavitz can be contacted through its attorneys.

 13          23.    John Does 1–21 (the “Operators”) are unidentified persons that operated
 14
      Thothub. The Operators each identified themselves on Thothub using a pseudonym.
 15
 16   Specifically, the respective Operators went by the following names on Thothub: (1)
 17   Captain Thotcakes; (2) Teller; (3) GOD; (4) Ironman891; (5) Merchant; (6) Cityzen7;
 18
      (7) Vassar; (8) Azrael; (9) Ewoklove; (10) RealAccount; (11) Nick712; (12) Swix;
 19
 20   (13) Nudeleaks; (14) Tallie; (15) Bigsausagestromboli; (16) TonyStark420; (17)
 21   Thighdeologist; (18) El Drago; (19) De_sercier; (20) SWEDISH CHEF; and (21)
 22
      FatherofSlain. Their true identities are not yet known.2 The Operators purposefully
 23
 24   directed relevant conduct to this district because they directly or indirectly infringed
 25
 26   2
        Plaintiffs believes they may have uncovered the actual names and identities of some Operators
      through independent investigation. However, given the seriousness of these allegations, Plaintiffs
 27   will confirm their identities through discovery served upon the other Defendants, to the extent
 28   possible, before naming the Operators publicly in this lawsuit.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 10 of 89 Page ID #:358



   1   Plaintiffs’ copyrights in this district. Through discovery in this case, Plaintiffs hope
   2
       to learn the Operators’ true identity and where they can be served.
   3
   4         24.    Defendant Cloudflare, Inc. (“Cloudflare”) is a public Delaware

   5   corporation with principal place of business in San Francisco, California. Cloudflare
   6
       offers a variety of web-based services, including infrastructure support, content
   7
   8   delivery networking, DDoS mitigation, and distributed domain-name-server services.

   9   Cloudflare has been served with process and is before the Court.
  10
             25.    Defendant Sonesta Technologies, Inc. (“Sonesta”), formerly known as
  11
  12   Defendant BangBros.com, Inc. (together with Sonesta, “BangBros”), is an adult

  13   entertainment company based in Miami, Florida. BangBros operates dozens of adult-
  14
       content websites. BangBros regularly conducts business in this district and provides
  15
  16   its subscription services and media content to many residents in this district. Sonesta
  17   can be served with process through its registered agent: A1A Registered Agent, Inc.,
  18
       5647 110th Ave. N, Royal Palm Beach, Florida 33411. BangBros.com, Inc. has
  19
  20   appeared in this case and is before the Court.
  21         26.    Defendant Multi Media LLC (“Chaturbate”) is an entertainment
  22
       company based in Lake Forest, California. It operates an adult-oriented live webcam
  23
  24   company called Chaturbate. Chaturbate regularly conducts business in this district
  25
       and offers its subscription services and media content to residents in this district.
  26
       Chaturbate has been served with process and is before the Court.
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 11 of 89 Page ID #:359



   1         27.    Defendant CrakMedia Inc. (“CrakRevenue”) is a marketing firm based
   2
       in Quebec, Canada. CrakRevenue operates a cost-per-action (CPA) marketing
   3
   4   network doing business under the name CrakRevenue. CrakRevenue directed relevant

   5   conduct to this district by, among other things, providing marketing services to the
   6
       Advertisers and causing advertisements to be shown on Thothub in this district.
   7
   8   CrakRevenue can be served with process at its principal place of business at 410

   9   Boulevard Charest E Suite 500, Quebec City, Quebec G1K 8G3, Canada.
  10
                              III.   JURISDICTION AND VENUE
  11
  12         28.    This Court has original jurisdiction over the RICO and Copyright Act

  13   claims under 28 U.S.C. § 1331 because these claims arise under federal law.
  14
             29.    This Court has original jurisdiction over the state-law claims under 28
  15
  16   U.S.C. § 1332 because each Plaintiff is a citizen of a different State from each known
  17   Defendant and the amount in controversy exceeds the sum or value of $75,000,
  18
       exclusive of interest and costs.
  19
  20         30.    This Court also has supplemental jurisdiction over the state-law claims
  21   under 28 U.S.C. § 1367 because those claims are so related to claims over which this
  22
       Court has original jurisdiction that they are part of the same case or controversy.
  23
  24         31.    Venue is proper in this Court under 28 U.S.C. § 1391 because a
  25
       substantial part of the events giving rise to the claims occurred in this district. In
  26
       addition, Defendant Chaturbate’s principal place of business is in this district.
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 12 of 89 Page ID #:360



   1                              IV.      FACTUAL ALLEGATIONS
   2
          A. The Licensed Sites Allow Creators to Sell Access to Their Works.
   3
               32.     The      Licensed    Sites—www.onlyfans.com        (“OnlyFans”)     and
   4
   5   www.patreon.com (“Patreon”)—are social media platforms that allow content
   6
       creators to sell access to their own works, including photographs and videos.
   7
               33.     Pursuant to the terms of the user agreements for the Licensed Sites,
   8
   9   content creators retain full ownership rights to the works that they upload onto the
  10
       Licensed Sites. Other users on the Licensed Sites are not granted the right to copy or
  11
       distribute creators’ works (with narrow exceptions for personal use).
  12
  13      i.         OnlyFans
  14
               34.     Founded in 2016, OnlyFans is a social media platform that allows users
  15
       to upload photos and videos to their individual profiles. Users who upload such works
  16
  17   are referred to as “creators.” Creators may set a monthly subscription price for access
  18
       to their works and earn money from paid subscribers (“fans”).
  19
  20
               35.     Fans purchase subscriptions through OnlyFans to view works made

  21   available by particular OnlyFans creators that the fans follow. Each creator sets the
  22
       monthly subscription fee for access to that creator’s OnlyFans content.
  23
  24           36.     Creators may also allow fans to subscribe to their accounts for free and

  25   then sell access to works to subscribers on a pay-per-view or per-item basis.
  26
               37.     Fans may also elect to pay “tips”—additional discretionary payments to
  27
  28   creators on an ad hoc, gratuitous basis—to creators.


                                                   12
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 13 of 89 Page ID #:361



   1         38.    OnlyFans takes a small portion of all payments made by users to creators
   2
       through the platform; the rest of the payments go to the relevant creator.
   3
   4         39.    OnlyFans gives creators the ability to control who can see their works.

   5   OnlyFans creators can elect to block particular fans if they wish.
   6
             40.    OnlyFans requires all fans and creators (collectively, “Users”) that use
   7
   8   the site to agree to certain terms of service (the “OnlyFans User Agreement”).

   9         41.    The OnlyFans User Agreement provides that “[w]e [OnlyFans] do not
  10
       own User Content on OnlyFans.” As used in the agreement, the term “‘User Content’
  11
  12   means any and all media uploaded by Users.”

  13         42.    The OnlyFans User Agreement provides as follows in regards to
  14
       payments to creators: “If a User uploads content (an ‘Uploading User’) then, subject
  15
  16   to that User complying with these Terms, that User is entitled to 80% of the revenue
  17   generated by other Users who subscribe to the uploading User’s content. Payment will
  18
       be made by or on behalf of OnlyFans to the uploading User.”
  19
  20         43.    The OnlyFans User Agreement provides that Users may “not reproduce,
  21   distribute, modify, create derivative works of, publicly display, publicly perform,
  22
       republish, download, store, or transmit any of the material on the Website,” except
  23
  24   that the User’s “computer may temporarily store copies of such materials in RAM
  25
       incidental to [the User’s] accessing and viewing those materials”; “[the User] may
  26
       store files that are automatically cached by [the User’s] Web browser for display
  27
  28   enhancement purposes”; and “[the User] may print or download one copy of a


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 14 of 89 Page ID #:362



   1   reasonable number of pages of the Website for [the User’s] own personal, non-
   2
       commercial use and not for further reproduction, publication, or distribution.”
   3
   4            44.     The OnlyFans User Agreement also provides that Users may not “make

   5   unauthorized use of another’s information or content” or “display, publish or
   6
       distribute User content that … violates another’s copyright, trademark, right of
   7
   8   privacy, right of publicity, or other property or personal right (for example, using the

   9   name, likeness, image or other identity of another without proper consent).”
  10
                45.     The OnlyFans User Agreement further provides: “By creating and
  11
  12   publishing User Content on OnlyFans, you [i.e., the creator] authorize your Fans to

  13   access and view (without downloading or copying) your User Content on OnlyFans
  14
       for their own lawful and personal use.”
  15
  16      ii.         Patreon
  17            46.     Founded in 2013, Patreon is a social media platform that allows creators
  18
       to sell access to their works on the platform to paid subscribers (“patrons”).
  19
  20            47.     Patreon utilizes a subscription-style payment model in which patrons pay
  21   creators a monthly payment in exchange for access to the creator’s works.
  22
                48.     Patreon takes a percentage-based fee for all payments made to creators
  23
  24   through the platform, depending on the type of plan the creator selects.
  25
                49.     Patreon allows creators to set pricing tiers for access to different content.
  26
       In addition, creators can establish “rewards”—i.e., access to additional content—for
  27
  28   patrons that meet spending thresholds set by the creator.


                                                      14
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 15 of 89 Page ID #:363



   1         50.    Patreon gives creators the ability to control who can see their works.
   2
       Patreon creators may elect to block particular patrons if they wish.
   3
   4         51.    Patreon’s terms of use (“Patreon Terms”), which all users accept,

   5   provide that the creators “keep full ownership of all creations that [they] offer on
   6
       Patreon.” The Patreon Terms continue: “By posting creations on Patreon, [creators]
   7
   8   grant [Patreon] a royalty-free, perpetual, irrevocable, non-exclusive, sublicensable,

   9   worldwide license to use, reproduce, distribute, perform, publicly display or prepare
  10
       derivative works of your creation. The purpose of this license is strictly limited to
  11
  12   allow [Patreon] to provide and promote Operatorships to [creators’] patrons.”

  13         52.    The Patreon Terms further provide that “[p]atrons may not use creations
  14
       posted by creators in any way not authorized by the creator.”
  15
  16      B. Plaintiffs Develop Online Followings and Use the Licensed Sites.
  17         i.     Waidhofer
  18
             53.    Waidhofer is one of the most popular and highest-earning creators on the
  19
  20   Licensed Sites. She also has over 2.2 million Instagram followers.
  21         54.    Waidhofer grew up near Houston, Texas. She graduated summa cum
  22
       laude from high school, ranked number 14 out of a class of about 450 students.
  23
  24         55.    In 2010, Waidhofer received her associate’s degree in pre-nursing from
  25
       Lone Star College, where she was honored on the Dean’s List. In 2014, Waidhofer
  26
       graduated with honors from Sam Houston State University with a 3.89 GPA.
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 16 of 89 Page ID #:364



   1             56.    In or around 2015, Waidhofer began posting modeling photos on
   2
       Instagram. By 2017, she had approximately 100,000 Instagram followers.
   3
   4             57.    In or around 2017, Waidhofer set up a Patreon account as a creator. On

   5   Patreon, Waidhofer posts artistic non-nude and “implied nude”3 images of herself,
   6
       typically in lingerie or costume. These works are only available to paid subscribers.
   7
   8   Subscribers can access different works depending on subscription tier.

   9             58.    Waidhofer receives a monthly report showing all of her subscribers on
  10
       Patreon and the amount that each subscriber paid. Each month Waidhofer receives
  11
  12   thousands of dollars in subscription fees through Patreon. The amount varies by

  13   months depending on the number of subscribers and what tiers they purchase.
  14
                 59.    In or around 2018, Waidhofer set up an OnlyFans account as a creator.
  15
  16   On OnlyFans, Waidhofer posts artistic non-nude and implied nude images of herself,
  17   typically in lingerie or costume. These works are only available to subscribers who
  18
       pay about $15 per month. Waidhofer also receives “tips” from fans.
  19
  20             60.    Waidhofer receives a monthly report showing all of her subscribers on
  21   OnlyFans and the amount that she has received from fans. Each month Waidhofer
  22
       receives thousands of dollars through OnlyFans. The amount varies by month based
  23
  24   on the number of subscribers and the number and amount of tips.
  25
  26
  27
       3
  28       “Implied nude” means that nudity is suggested, but private areas of the body are not visible.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 17 of 89 Page ID #:365



   1         61.    Despite demand for nude content, Waidhofer has consistently made clear
   2
       that she has not published, and does not intend to publish, any nude content.
   3
   4         62.    Waidhofer creates all of her works herself. She purchased equipment

   5   including a camera, tripod, and lights to conduct her photoshoots. She spends dozens
   6
       of hours each week creating content, including by taking, developing, and editing
   7
   8   photographic works. She has also spent tens of thousands of dollars on wardrobe,

   9   makeup, and other accessories related to the works.
  10
             63.    In or around April 2019, Waidhofer sent three unpublished semi-nude
  11
  12   photographs to a Patreon fan named Matthew Cathey (“Cathey”). These photos were

  13   provided privately to Cathey for no compensation.
  14
             ii.    McGehee
  15
  16         64.    McGehee is another popular creator on the Licensed Sites. She publishes
  17   her works under the pseudonym “OMGcosplay.” The term “cosplay” refers to a form
  18
       of performance art involving costumes of (usually) fictional characters, typically from
  19
  20   video games, television, comic books, or film.
  21         65.    McGehee grew up in Denton, Texas. She graduated in 2018 from the
  22
       University of North Texas (UNT), where she was in the Honors College.
  23
  24         66.    In 2019, McGehee enrolled as a law student at the Texas A&M
  25
       University School of Law. She is currently a second-year law student.
  26
             67.    In 2015, McGehee started an Instagram account for cosplay modeling
  27
  28   under the name “OMGcosplay.” She now has over 750,000 Instagram followers.


                                                 17
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 18 of 89 Page ID #:366



   1         68.    In or around 2016, McGehee opened a Patreon account, also under the
   2
       name OMGcosplay. The account features some of McGehee’s works, which consist
   3
   4   of non-nude and implied nude photographs of herself performing cosplay.

   5         69.    On Patreon, McGehee makes her works available to subscribers based
   6
       on purchase tier. Subscribers are charged a monthly subscription fee.
   7
   8         70.    In 2019, McGehee established an account on OnlyFans, also under the

   9   name OMGcosplay. McGehee publishes some works exclusively on OnlyFans.
  10
             71.    McGehee allows fans to subscribe to her OnlyFans account for free. She
  11
  12   has over 170,000 followers on OnlyFans. Although fans can subscribe for free, they

  13   purchase access to McGehee’s works on a per-item basis. For instance, McGehee
  14
       recently posted a $3 photo set that was purchased by thousands of fans.
  15
  16         72.    McGehee receives regular reports from OnlyFans and Patreon about her
  17   earnings, sales, and subscribership. According to her recent OnlyFans reports,
  18
       McGehee is among the top .1% of OnlyFans creators in terms of earnings. McGehee
  19
  20   also rank as one of the highest-earning cosplay creators on Patreon.
  21         iii.   Ryuu Lavitz
  22
             73.    As noted above, Ryuu Lavitz is an LLC owned and operated by a
  23
  24   cosplayer who goes by the pseudonym “Ryuu Lavitz” (the individual is referred to
  25
       herein as “Ryuu”). Ryuu Lavitz owns the copyrights to Ryuu’s creative works.
  26
             74.    Ryuu grew up near Boston, Massachusetts. She began cosplaying as a
  27
  28   hobby about ten years ago, and she began modeling as a career in 2017.


                                                18
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 19 of 89 Page ID #:367



   1         75.    Ryuu opened an Instagram account in 2012. She currently has over
   2
       100,000 Instagram followers. Ryuu also has over 780,000 followers on Facebook.
   3
   4         76.    Ryuu opened an account on Patreon in 2015. On Patreon, Ryuu’s

   5   creative works are available to subscribers based on purchase tier. Subscribers are
   6
       charged each calendar month for a subscription ranging from $1 to $75.
   7
   8         77.    In April 2020, Ryuu Lavitz opened an account on OnlyFans.

   9         78.    Ryuu Lavitz receives regular reports from OnlyFans and Patreon about
  10
       its earnings, sales, and subscribership on the Licensed Sites.
  11
  12         79.    In April 2013, Ryuu Lavitz opened a print shop on Storenvy, an e-

  13   commerce platform. On Storenvy, Ryuu Lavitz sells various physical items, such as
  14
       prints, t-shirts, and stickers, featuring Ryuu’s works. In April 2020, Ryuu Lavitz
  15
  16   launched LavitzNation.com, where fans can purchase copies of Ryuu’s works.
  17         80.    Through the Licensed Sites, Storenvy, and the Lavitz Nation website,
  18
       Ryuu Lavitz earns thousands of dollars per month off of Ryuu’s works.
  19
  20      C. Plaintiffs’ Copyrighted Works Appear On Thothub.
  21         i.     Waidhofer
  22
             81.    In early 2020, through her attorneys, Waidhofer filed all her
  23
  24   photographic works that had been published on the Licensed Sites as of May 2020
  25
       and certain unpublished content for registration with the U.S. Copyright Office.
  26
             82.    The Copyright Office issued copyright registrations for Waidhofer’s
  27
  28   works under the following registration numbers:


                                                 19
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 20 of 89 Page ID #:368



   1               • VA0002205436—118 photographic         works    published   in      2017;
   2                 registration dated April 27, 2020;

   3               • VA0002203670—750 photograph works published between January
   4                 and August 2018; registration dated May 15, 2020;
   5
                   • VA0002203694—439 photographic works published between August
   6                 and December 2018; registration dated May 15, 2020;
   7
                   • VA0002201440—639 photographic         works    published   in      2019;
   8                 registration dated April 27, 2020;
   9
                   • VA0002205448—187 photographic works published between January
  10                 and March 2020; registration dated April 30, 2020;
  11
                   • VA0002209335—260 photographic works published between January
  12                 and May 2020; registration dated May 28, 2020; and
  13
                   • VAu001393201—4 unpublished photographic works; registration dated
  14                 May 1, 2020.
  15
             83.     All of the published works described above were published on one or
  16
  17   more of Waidhofer’s accounts on the Licensed Sites during the dates specified.

  18         84.     With the exception of one unpublished photograph entitled “Waidhofer
  19
       Unpublished 4,” all of Waidhofer’s copyrighted works (published and unpublished)
  20
  21   appeared on Thothub without her consent or authorization.
  22         85.     During 2019, Waidhofer learned that some of her works had been
  23
       “leaked” and were being shown on Thothub. On information and belief, the
  24
  25   infringement of Waidhofer’s works began on or before May 2019.
  26         86.     The Thothub site contained an “A-Z” glossary of some of the creators
  27
       whose works appeared on the site. The name “NIECE WAIDHOFER” appeared on
  28


                                               20
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 21 of 89 Page ID #:369



   1   the “A-Z” glossary. Clicking the name led to a page with two posts of Waidhofer’s
   2
       works under the heading “#NIECE WAIDHOFER NUDE.”
   3
   4         87.   The first set of Waidhofer’s content featured on Thothub’s public pages

   5   was entitled “NIECE WAIDHOFER NUDE ONLYFANS LEAKED VIDEO AND
   6
       PHOTOS.” This page included a composite video and 64 images of Waidhofer,
   7
   8   including three unpublished photographs. The 64 images and the photographs in the

   9   composite video are Waidhofer’s copyrighted works. Waidhofer did not authorize
  10
       these uses of any of these works.
  11
  12         88.   The second set of Waidhofer’s works featured on Thothub’s public pages

  13   was entitled “NIECE WAIDHOFER PATREON SEXY PHOTOS.” This page
  14
       included 50 images of Waidhofer. All 50 images are Waidhofer’s copyrighted works.
  15
  16   Waidhofer did not authorize these uses of any of these works.
  17         89.   On information and belief, at least tens of thousands of Thothub users
  18
       viewed Waidhofer’s copyrighted works on the aforementioned pages.
  19
  20         90.   Waidhofer’s works also appeared on the Thothub “forum” (discussed
  21   below). For example, in a Thothub forum message dated May 26, 2019 entitled
  22
       “Niece Waidhofer,” the Operator “tallie” posted one of Waidhofer’s copyrighted
  23
  24   works from Patreon with the notation: “Niece Waidhofer sets. (Wip).” The term
  25
       “Wip” is an acronym for “work in progress.” In another post that day, tallie wrote:
  26
       “Ive got over 3000 images and 120ish gifs. It’s just… my laptop is KO so have to
  27
  28   upload on mobile. And thats [sic] just awfully slow.” That same day, tallie posted


                                               21
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 22 of 89 Page ID #:370



   1   Waidhofer’s copyrighted works from her Patreon account. There were several other
   2
       tallie posts in the thread showing Waidhofer’s copyrighted works.
   3
   4         91.    In another post on November 12, 2019, the Operator “FatherofSlain”

   5   wrote: “I will have Patreon content flowing in within the coming weeks. Stay tuned
   6
       for up to $100 tier posts.” The post was later updated to include Waidhofer’s
   7
   8   copyrighted works stolen from the Licensed Sites.

   9         92.    In a post on November 18, 2019, a user named “djkoel3121” asked in
  10
       reference to Waidhofer’s works from the Licensed Sites: “[A]ny chance of a sneak
  11
  12   peek of the $100 tier stuff?” FatherofSlain responded: “Guaranteed every post from

  13   $100 and under to the beginning, some $200 mixed in too but I can’t be sure. Im
  14
       getting these second hand. I’m chatting with a potential $500 tier patron but I’ve yet
  15
  16   to see real proof so don’t get to [sic] excited for the highest tiers just yet.”
  17         93.    In a post on November 19, 2019, FatherofSlain posted a link to a
  18
       repository of Waidhofer’s stolen works with the message: “Here it is boys … Please
  19
  20   DO NOT quote this post or the encryption key post in case I need to delete/move
  21   things[.] I want as little record as possible.” The link contained all of Waidhofer’s
  22
       copyrighted works from Patreon as of that date.
  23
  24         94.    In another post, the Operator “Azrael” posted a zip file entitled
  25
       “Niece.zip – AnonFiles” with the message that this file contained a “re-up of OF
  26
       [OnlyFans] rip.” The linked file contained an updated set of Waidhofer’s copyrighted
  27
  28   works published on her OnlyFans account as of that date.


                                                   22
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 23 of 89 Page ID #:371



   1         95.    In another post on December 30, 2019, a user named “Mcathey7” wrote:
   2
       “Have a full length vid plus extra paid the 1000 anyone willing to trade message.”
   3
   4   Later that day, MCathey7 wrote: “More hope you guys match up.” This post included

   5   copies of three of Waidhofer’s unpublished registered works.
   6
             96.    Waidhofer sent at least three copyright-infringement notices to Thothub.
   7
   8   One notice was delivered via Thothub’s online form. Two other notices were sent via

   9   email to mythothub@gmail.com, a contact address listed on the Thothub website.
  10
       Thothub’s owners did not respond to these notices, and Waidhofer’s copyrighted
  11
  12   works remained on Thothub until after the original complaint was filed.

  13         97.    Through her attorneys, Waidhofer sent an infringement notice to
  14
       Cloudflare on July 10, 2020. The notice informed Cloudflare of ongoing infringement
  15
  16   on Thothub, the Thothub Operators’ open and notorious statements about
  17   infringement, and other facts showing that Thothub was a pirate site that existed for
  18
       the express purpose of committing copyright infringement. The notices also identified
  19
  20   specific URLs on Thothub where Waidhofer’s works appeared.
  21         98.    On August 7, 2020, Cloudflare sent a response letter asserting that
  22
       Cloudflare provides services to its customers “on a pass-through basis.” The letter
  23
  24   further stated that Cloudflare “do[es] not have the ability to alter or remove content
  25
       on [Thothub].” The letter further stated that Waidhofer’s “letter appears to be better
  26
       addressed to the hosting provider of the Website” and that Cloudflare “provide[s] the
  27
  28   names of the applicable hosting providers as well as their contact information to the


                                                23
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 24 of 89 Page ID #:372



   1   extent that they are using Cloudflare’s services.” However, the letter did not provide
   2
       this information because, according to the letter, “to our knowledge as of the date of
   3
   4   this letter, the Website does not resolve to an IP address.”

   5         ii.      McGehee
   6
             99.      In 2020, through her agent, McGehee filed all of her photographic works
   7
   8   that had been published on the Licensed Sites in 2019 and 2020 for registration with

   9   the U.S. Copyright Office.
  10
             100. The Copyright Office issued copyright registrations for McGehee’s
  11
  12   works under the following registration numbers:

  13               • VA0002216001—750 photographic works              published   in   2019;
  14                 registration dated September 7, 2020; and
  15
                   • VA0002218627—750 photographic            works   published   in   2020;
  16                 registration dated September 7, 2020.
  17
             101. All of these works were published on one or more of McGehee’s
  18
       accounts on the Licensed Sites during the dates specified. All of these copyrighted
  19
  20   works appeared on Thothub without McGehee’s consent.
  21
             102. The name “OMGcosplay” appeared on the Thothub A-Z glossary.
  22
       Clicking the name on the glossary led to pages featuring McGehee’s works.
  23
  24         103. McGehee’s copyrighted works appeared on Thothub beginning on or
  25
       before September 2019 at the following addresses:
  26
  27
                   • https://forum.thothub.tv/index/php?threads/omgcosplay.401
                   • https://forum.thothub.tv/index.php?forums/patreon.8/
  28               • https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 25 of 89 Page ID #:373



   1            •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-2
   2            •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-3
                •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-4
   3
                •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-6
   4            •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-7
   5
                •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-8
                •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-9
   6            •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-10
   7            •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-11
                •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-12
   8
                •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-13
   9            •    https://forum.thothub.tv/index.php?threatds/omgcosplay-x.401/page-14
  10
                •    https://thothub.tv/thotstarsh/
                •    https://thothub.tv/tag/omgcosplay-sexy/
  11            •    https://thothub.tv/tag/omgcosplay-nude/
  12            •    https://thothub.tv/2019/09/13/omgcosplay-gwenpool-cosplay/
                •    https://thothub.tv/gmedia-album-omgcosplay/
  13
                •    https://thothub.tv/tag/omgcosplay-naked/
  14            •    https://thothub.tv
  15
             104. Beginning on or before December 2019, McGehee’s copyrighted works
  16
       appeared on Thothub at the following addresses:
  17
  18             •   https://thothub.tv/2019/10/29/omgcosplay-raven/
  19             •   https://thothub.tv/2019/12/03/omgcosplay-naked-shower/
                 •   https://thothub.tv/2019/09/16/omgcosplay-nude-snapchat-shower/
  20             •   https://thothub.tv/2019/11/29/omgcosplay-sabrina/
  21
             105. Beginning on or before January 2020, McGehee’s copyrighted works
  22
  23   appeared on Thothub at the following addresses:
  24
                • https://forum.thothub.tv/index.php?threads/omgcosplay-featuring-
  25              dante-from-dmc-and-knuckles.18537/
                • https://forum.thothub.tv/index.php?threads/omgcosplay-super-turrbo-
  26
                  hd-remix.19435/
  27            • https://forum.thothub.tv/index.php?threads/omgcosplay-hyper-edition-
                  ex-plus-alpha.20648/
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 26 of 89 Page ID #:374



   1            • https://forum.thothub.tv/index.php?threads/omgcosplay-subtitle-
   2              placeholder-subtitle.21804/
                • https://forum.thothub.tv/index/php?threads/omgcosplay-lorem-ipsum-
   3              dolor-sit-amet.22796/#post-313909
   4            • https://forum.thothub.tv/index/php?threads/omgcosplay-
                  overhaul.23772/
   5
   6         106. Beginning on or before February 2020, McGehee’s copyrighted works
   7
       appeared on Thothub at the following addresses:
   8
                • https://forum.thothub.tv/index.php?threads/omg-maggie.17553/
   9
                • https://forum.thothub.tv/index.php?threads/prettiest-feet.23878/page-
  10              2#post-341170
  11            • https://forum.thothub.tv/index.php?threads/oh-my-goodness-
                  cosplay.25352/
  12            • https://forum.thothub.tv/index/php?threads/everyting-nier-automata-
  13              yorha-2b.7816/page-2#post-367105
                • https://forum.thothub.tv/index.php?threads/everything-nier-automata-
  14              yorha-b7816/page-2#post-367128
  15            • https://forum.thothub.tv/index.php?threads/omgcosplay.17706/
  16         107. Beginning on or before March 2020, McGehee’s copyrighted works
  17
       appeared on Thothub at the following addresses:
  18
  19            • https://forum.thothub.tv/index.php?threads/0-g-cosplay.26712/
                • https://thothub.tv/2020/03/02omgcosplay-hermione-lingerie/
  20
                • https://forum.thothub.tv/index.php?threads/o-m-g-she-be-
  21              cosplaying.29484/
  22            • https://forum.thothub.tv/index.php?threads/lurker-posting-
                  omgcosplay.49202/
  23            • https://forum.thothub.tv/index.php?threads/omgcosplay-bondage-
  24              onlyfans.45013/
                • https://forum.thothub.tv/index.php?threads/first-contrib-
  25              omgcosplay.48044/
  26            • https://forum.thothub.tv/index.php?threads/omgcosplay-some-
                  photosets.40908/
  27
                • https://forum.thothub.tv/index.php?threads/omgcosplay-newest-
  28              set.41998/

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 27 of 89 Page ID #:375



   1           • https://forum.thothub.tv/index.php?threads/contributing-to-the-cause-
   2             omgcosplay.48332/
               • https://forum.thothub.tv/index.php?threads/my-contribution-
   3             omgcosplay.46561/
   4           • https://forum.thothub.tv/index.php?threads/official-welcome-
                 contribution-thread-reply-inhere.30918/page-74#post-475213
   5
               • https://forum.thothub.tv/index.php?threads/omgcosplay-as-ramona-
   6             flowers.38369/
               • https://forum.thothub.tv/index.php?threads/omgcosplay-super-girl-set-
   7
                 somes-march-2020-pictures.49339/#post-512536
   8           • https://forum.thothub.tv/index.php?threads/omgcosplay.40855/
   9           • https://forum.thothub.tv/index.php?threads/omgcosplay.39071/
               • https://forum.thothub.tv/index.php?threads/omgcosplay.43139/
  10           • https://forum.thothub.tv/index.php?threads/omgcosplay.44681/
  11           • https://forum.thothub.tv/index.php?threads/omgcosplay.36559/
               • https://forum.thothub.tv/index.php?threads/omgcosplay.32668/
  12
               • https://forum.thothub.tv/index.php?threads/omgcosplay.43199/
  13           • https://forum.thothub.tv/index.php?threads/omgcosplay.boundage.4488
  14
                 0/
               • https://forum.thothub.tv/index.php?threads/omgcosplay-cute-
  15             photos.43795/
  16           • https://forum.thothub.tv/index.php?threads/omgcosplay-cum-and-
                 facial.47780/
  17           • https://forum.thothub.tv/index.php?threads/little-bit-of-my-faves-to-
  18             get-out-of-lurker-status.48262/
               • https://forum.thothub.tv/index.php?threads/omgocsplay-ri-care-
  19
                 invadernoodles.34232/
  20           • https://forum.thothub.tv/index.php?threads/omgcosplay-trying-to-get-
                 out-of-the-pit.47522/
  21
               • https://forum.thothub.tv/index.php?threads/omgcosplay-goddess-help-
  22             me-guys.39727/
  23           • https://forum.thothub.tv/index.php?threads/lurker-raises-his-ugly-face-
                 to-then-go-back-to-lurking-omgcosplay.38655
  24           • https://forum.thothub.tv/index.php?threads/lurker-posting-
  25             omgcosplay.49202/
               • https://forum.thothub.tv/index.php?threads/some-omgcosplay-for-
  26             you.53038/
  27           • https://forum.thothub.tv/index.php?threads/omgcosplay.55359/
               • https://forum.thothub.tv/index.php?threads/omgcosplay.52570/
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 28 of 89 Page ID #:376



   1            • https://forum.thothub.tv/index.php?threads/come-drow-lewd-content-
   2              help-leave-lurker-status.52481/page-14#post-554597
                • https://forum.thothub.tv/index.php?threads/hey-all-still-trying-to-get-
   3              in.54199/#post-555213
   4            • https://forum.thothub.tv/index.php?threads/omgcosplay-micro-
                  thong.57660/
   5
                • https://forum.thothub.tv/index.php?threads/o_m_g_c_o_-_p_l-
   6              _y.31800/
   7
             108. Beginning on or before April 2020, McGehee’s copyrighted works
   8
       appeared on Thothub at the following addresses:
   9
  10            • https://forum.thothub.tv/index.php?threads/omgcosplay.64712/
  11            • https://forum.thothub.tv/index.php?threads/lets-get-out-of-the-pit-post-
                  up-skinny-petite-girls-here-and-tag-me.61228/
  12            • https://forum.thothub.tv/index.php?threads/peachjars-or-bukkitbrown-
  13              content.39933/
                • https://forum.thothub.tv/index.php?threads/omgcosplay.53129/
  14            • https://forum.thothub.tv/index.php?threads/0mgcosplay.28817/
  15            • https://forum.thothub.tv/index.php?threads/o_m_g_c_0_-_p_l-
                  _y.31800/
  16
                • https://thothub.tv/2020/04/04/omgcosplay-2b-nier-automata/
  17            • https://forum.thothub.tv/index.php?threads/omgcosplay.65949/
  18            • https://forum.thothub.tv/index.php?threads/everything-nier-automata-
                  yorha-2b.7816/
  19            • https://thothub.tv/2020/04/15/omgcosplay-supergirl/
  20            • https://forum.thothub.tv/index.php?threads/mgc05pl4y.69186/
                • https://forum.thothub.tv/index.php?threads/drop-some-content-and-get-
  21              some-likes-move-out-of-the-pit.70878/
  22            • https://forum.thothub.tv/index.php?threads/omgcosplay.71444/
                • https://forum.thothub.tv/index.php?threads/omgcosplay.72895/
  23
                • https://forum.thothub.tv/index.php?threads/who-is-this-request-
  24              unknown-girls-in-here.8339/
  25            • https://forum.thothub.tv/index.php?threads/omg.75128/
                • https://thothub.tv/2019/10/29/omgcosplay-raven
  26            • https://forum.thothub.tv/index.php?threads/omcosplay-maggie-
  27              mcgehee.78251/
                • https://forum.thothub.tv/index.php?threads/were-giving-away-free-
  28              likes-all-day-come-on-inside.78341/

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 29 of 89 Page ID #:377



   1            • https://forum.thothub.tv/index.php?threads/omgco-pl-y.76690/
   2            • https://forum.thothub.tv/index.php?threads/who-is-this-request-
                  unknown-girls-in-here.8339/
   3
                • https://forum.thothub.tv/index.php?threads/post-anything-and-
   4              we%E2%80%99ll-get-you-out-of-the-pit-please-read-guidelines.77659
                • https://forum.thothub.tv/index.php?threads/omg-cosplay.77318/
   5
                • https://forum.thothub.tv/index.php?threads/omcosplay-easter.79296/
   6
             109. Beginning on or before May 2020, McGehee’s copyrighted works
   7
   8   appeared on Thothub at the following addresses:
   9
                • https://forum.thothub.tv/index.php?threads/omgc-sply.80570/
  10            • https://forum.thothub.tv/index.php?threads/giving-away-likes-post-
  11              your-content-and-get-out-of-the-pit.81579/
                • https://forum.thothub.tv/index.php?threads/post-anything-and-
  12              we%E2%80%99ll-get-you-out-of-the-pit-please-read-guidelines.81785/
  13            • https://forum.thothub.tv/index.php?threads/who-is-this-request-
                  unknown-girls-in-here.8339/
  14
                • https://forum.thothub.tv/index.php?threads/omg-cosplay.83303/
  15            • https://forum.thothub.tv/index.php?threads/omg-cosplay.86792/
  16
                • https://forum.thothub.tv/index.php?threads/omgcosplay-just-trying-to-
                  get-out-the-pit.87379/
  17            • https://forum.thothub.tv/index.php?threads/peach-jars.84482/
  18            • https://forum.thothub.tv/index.php?threads/0mgc0sp1-y.86879/
                • https://forum.thothub.tv/index.php?threads/omgcosplay.88591/
  19            • https://forum.thothub.tv/index.php?threads/omgcosplay.88886/
  20            • https://forum.thothub.tv/index.php?threads/omgcosplay-maggie.90785
  21
             110. Beginning on or before June 2020, McGehee’s copyrighted works
  22
       appeared on Thothub at the following addresses:
  23
  24            • https://thothub.tv/2020/05/28/omgcosplay-girl-on-girl-set/
  25
                • https://forum.thothub.tv/index.php?threads/omg.91175/
                • https://forum.thothub.tv/index.php?threads/omgcosplay.92822/
  26            • https://forum.thothub.tv/index.php?threads/omgcosplay-of.92144/
  27            • https://forum.thothub.tv/index.php?threads/omgcosplay-supergirl-
                  set.96399/
  28            • https://forum.thothub.tv/index.php?threads/omcosplay.95556/

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 30 of 89 Page ID #:378



   1             • https://forum.thothub.tv/index.php?threads/omgcosplay.96695/
   2             • https://forum.thothub.tv/index.php?threads/omgcosplay.98164/
                 • https://forum.thothub.tv/index.php?threads/directory-of-the-best-
   3               ahegao-crosseyed-girl.99874/
   4
               111. Beginning on or before July 2020, McGehee’s copyrighted works
   5
   6   appeared on Thothub at the following addresses:
   7
                 • https://forum.thothub.tv/index.php?threads/who-is-this-request-
   8               unknown-girls-in-here.8339/page-131#post-702578
   9
                 • https://forum.thothub.tv/index.php?threads/omgcosplay.100386/
                 • https://forum.thothub.tv/index.php?threads/omgcosplay-birthday-
  10               onlyfans-set/
  11             • https://forum.thothub.tv/index.php?threads/oh-my-god-cos.102542/
                 • https://forum.thothub.tv/index.php?threads/omgcos.103618/
  12             • https://forum.thothub.tv/index.php?threads/omgcosplay-harley/
  13             • https://forum.thothub.tv/index.php?threads/omg-cosplay.104196/
                 • https://forum.thothub.tv/index.php?threads/omgcosplay.105978/
  14
                 • https://forum.thothub.tv/index.php?threads/omg-cosplay.106494/
  15             • https://forum.thothub.tv/index.php?threads/omgcosplay.107389/
  16             • https://forum.thothub.tv/index.php?threads/omg-cosplay.108785/

  17           112. McGehee sent multiple takedown notices to Thothub that were ignored.
  18
       McGehee also used a subscription service called Cam Model Protection for a fee of
  19
  20   $169 per month. Cam Model Protection claimed to be the only service that could get

  21   content removed from Thothub. McGehee submitted numerous tickets related to
  22
       Thothub through Cam Model Protection. Thothub sometimes temporarily removed
  23
  24   content in response to notices from Cam Model Protection, but McGehee’s removed

  25   content then reappeared on Thothub again within days or even hours.
  26
               113. In September 2019, McGehee sent Cloudflare a complete DMCA notice
  27
  28   about     infringement   on   Thothub    via   Cloudflare’s    email   address   at


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 31 of 89 Page ID #:379



   1   abuse@cloudflare.com. Cloudflare responded that it had “received your copyright
   2
       infringement complaint regarding: thothub.tv,” but it asserted that Cloudflare is
   3
   4   merely a “pass-through security service.” Cloudflare’s response also stated that

   5   Cloudflare was “unable to process your DMCA complaint because it is missing one
   6
       or more of the following required pieces of information,” whereupon the response
   7
   8   listed all of the notice requirements from the DMCA. Although McGehee’s original

   9   notice had included the required information, McGehee replied again with the
  10
       information that Cloudflare had alleged might be missing.
  11
  12         114. Cloudflare responded again by stating that Cloudflare “cannot remove

  13   material from the Internet.” Cloudflare also directed McGehee to submit her notice to
  14
       Cloudflare’s abuse report web form at https://www.cloudflare.com/abuse. McGehee
  15
  16   did so, but Cloudflare did not reply again.
  17         115. McGehee also sent additional takedown notices to Cloudflare in 2019
  18
       via its abuse report web form that were not answered.
  19
  20         iii.     Ryuu Lavitz
  21         116. In early 2020, Ryuu Lavitz filed Ryuu’s photographic works that had
  22
       been published in 2019 and 2020 for registration with the U.S. Copyright Office.
  23
  24         117. The Copyright Office issued copyright registrations to Ryuu Lavitz
  25
       under the following registration numbers:
  26
                    • VA0002216000—749 photographs published in 2019; registration dated
  27
                      September 7, 2020; and
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 32 of 89 Page ID #:380



   1            • VA0002216134—464 photographs published in 2020; registration dated
   2              September 7, 2020.

   3         118. All of the published works described above were published on one or
   4
       more of Ryuu Lavitz’s accounts on the Licensed Sites during the dates specified.
   5
   6         119. Ryuu Lavitz’s copyrighted works appeared on Thothub without its
   7   consent or authorization at the following addresses:
   8
                •   https://forum.thothub.tv/index.php?threads/ryuu-lavits_85294/
   9
                •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz_1906/page-2
  10            •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.83067/
  11
                •   https://thothub.tv/2020/05/03/ryuu-lavitz-patreon-naruko/
                •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.66627/
  12            •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.74780/
  13            •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.72091/
                •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.62596/
  14
                •   https://forum.thothub.tv/index.php?threads/ryuu.57023/
  15            •   https://forum.thothub.tv/index.php?threads/r-l.54719/
  16
                •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.46770/
                •   https://forum.thothub.tv/index.php?threads/ryu-lavitz.39038/
  17            •   https://forum.thothub.tv/index.php?threads/r-y-u-u.46061/
  18            •   https://forum.thothub.tv/index.php?threads/introduction-thread-ft-
                    ry%C3%BC%C3%BC.46061/
  19            •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.29828/
  20            •   https://forum.thothub.tv/index.php?threads/ry-la.28422/
                •   https://forum.thothub.tv/index.php?threads/r-y-u-u-l-4-v-t-z.28849/
  21
                •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.27554/
  22            •   https://forum.thothub.tv/index.php?threads/ryyuu-lavits.24129/
  23            •   https://forum.thothub.tv/index.php?threads/ryyuu-lavits.24129/page-
                    2#post-337162
  24            •   https://forum.thothub.tv/index.php?threads/r-y-u-u-l-a-v-i-t-z.23317/
  25            •   https://thothub.tv/2020/01/17/ryuulavitz-bulma-briefs-dragon-ball/
                •   https://forum.thothub.tv/index.php?threads/cosplay-girl-r.20912/
  26
                •   https://forum.thothub.tv/index.php?threads/ryuu-lavitz.19384/
  27            •   https://forum.thothub.tv/index.php?threads/ryulavtz.17660/
  28
                •   https://forum.thothub.tv/index.php?threads/ryoo-lav-its.15994/


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 33 of 89 Page ID #:381



   1           • https://forum.thothub.tv/index.php?threads/ry-dragon-uu-luv-
   2             ittszs.16122/
               • https://forum.thothub.tv/index.php?threads/rlv.14876/
   3
               • https://forum.thothub.tv/index.php?threads/rl-cosplay.13461/
   4           • https://forum.thothub.tv/index.php?threads/rl.10248/
               • https://forum.thothub.tv/index.php?attachments/0rpbg8t-jpg.120277/
   5
               • https://forum.thothub.tv/index.php?attachments/0v8qjqk-jpg.120278/
   6           • https://forum.thothub.tv/index.php?attachments/1djlbdb-jpg.120279/
   7           • https://forum.thothub.tv/index.php?attachments/5y3ltis-jpg.120280/
               • https://forum.thothub.tv/index.php?attachments/bpezw3e-jpg.120281/
   8           • https://forum.thothub.tv/index.php?attachments/iu1057s-jpg.120285/
   9           • https://forum.thothub.tv/index.php?attachments/ytmsneg-jpg.120291/
               • https://forum.thothub.tv/index.php?attachments/ry-7-jpg.85548/
  10
               • https://forum.thothub.tv/index.php?attachments/ry-4-png.85560/
  11           • https://forum.thothub.tv/index.php?attachments/ry-1-jpeg.85549/
  12           • https://forum.thothub.tv/index.php?attachments/ry-1-jpg.85550/
               • https://forum.thothub.tv/index.php?attachments/ry-1-png.85551/
  13           • https://forum.thothub.tv/index.php?attachments/ry-2-jpeg.85552/
  14           • https://forum.thothub.tv/index.php?attachments/ry-2-jpg.85553/
               • https://forum.thothub.tv/index.php?attachments/ry-2-png.85554/
  15
               • https://forum.thothub.tv/index.php?attachments/ry-3-jpeg.85555/
  16           • https://forum.thothub.tv/index.php?attachments/ry-3-jpg.85556/
  17           • https://forum.thothub.tv/index.php?attachments/ry-3-png.85557/
               • https://forum.thothub.tv/index.php?attachments/ry-4-jpeg.85558/
  18           • https://forum.thothub.tv/index.php?attachments/ry-4-jpg.85559/
  19           • https://forum.thothub.tv/index.php?attachments/ry-5-jpeg.85561/
               • https://forum.thothub.tv/index.php?attachments/ry-5-jpg.85562/
  20
               • https://forum.thothub.tv/index.php?attachments/ry-5-png.85563/
  21           • https://forum.thothub.tv/index.php?attachments/ry-6-jpeg.85564/
  22           • https://forum.thothub.tv/index.php?attachments/ry-6-jpg.85565/
               • https://forum.thothub.tv/index.php?attachments/ry-6-png.85566/
  23           • https://forum.thothub.tv/index.php?attachments/ry-7-jpeg.85567/
  24           • https://forum.thothub.tv/index.php?attachments/ry-7-png.85569/
               • https://forum.thothub.tv/index.php?attachments/ry-8-jpeg.85570/
  25
               • https://forum.thothub.tv/index.php?attachments/ry-8-jpg.85571/
  26           • https://forum.thothub.tv/index.php?attachments/ry-8-png.85572/
  27           • https://forum.thothub.tv/index.php?attachments/ry-9-jpeg.85573/
               • https://forum.thothub.tv/index.php?attachments/ry-10-jpg.85577/
  28           • https://forum.thothub.tv/index.php?attachments/ry-9-jpg.85574/

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 34 of 89 Page ID #:382



   1           •   https://forum.thothub.tv/index.php?attachments/ry-9-png.85575/
   2           •   https://forum.thothub.tv/index.php?attachments/ry-10-jpeg.85576
               •   https://forum.thothub.tv/index.php?attachments/ry-10-png.85578/
   3
               •   https://forum.thothub.tv/index.php?attachments/ry-11-jpeg.85579
   4           •   https://forum.thothub.tv/index.php?attachments/ry-11-jpg.85580/
   5
               •   https://forum.thothub.tv/index.php?attachments/ry-11-png.85581/
               •   https://forum.thothub.tv/index.php?attachments/ry-12-jpeg.85582
   6           •   https://forum.thothub.tv/index.php?attachments/ry-12-jpg.85583/
   7           •   https://forum.thothub.tv/index.php?attachments/ry-12-png.85584/
               •   https://forum.thothub.tv/index.php?attachments/ry-13-jpeg.85585
   8
               •   https://forum.thothub.tv/index.php?attachments/ry-13-jpg.85586/
   9           •   https://forum.thothub.tv/index.php?attachments/ry-13-png.85587/
  10
               •   https://forum.thothub.tv/index.php?attachments/ry-14-jpeg.85588
               •   https://forum.thothub.tv/index.php?attachments/ry-14-jpg.85589/
  11           •   https://forum.thothub.tv/index.php?attachments/ry-14-png.85590/
  12           •   https://forum.thothub.tv/index.php?attachments/ry-15-jpg.85591/
               •   https://forum.thothub.tv/index.php?attachments/ry-15-png.85592/
  13
               •   https://forum.thothub.tv/index.php?attachments/ry-16-jpg.85593/
  14           •   https://forum.thothub.tv/index.php?attachments/ry-16-png.85594/
               •   https://forum.thothub.tv/index.php?attachments/ry-17-jpg.85595/
  15
               •   https://forum.thothub.tv/index.php?attachments/ry-17-png.85596/
  16           •   https://forum.thothub.tv/index.php?attachments/ry-18-jpg.85597/
  17           •   https://forum.thothub.tv/index.php?attachments/ry-18-png.85598/
               •   https://forum.thothub.tv/index.php?attachments/ry-23-png.85608/
  18
               •   https://forum.thothub.tv/index.php?attachments/ry-19-png.85600/
  19           •   https://forum.thothub.tv/index.php?attachments/ry-20-jpg.85601/
               •   https://forum.thothub.tv/index.php?attachments/ry-21-jpg.85603/
  20
               •   https://forum.thothub.tv/index.php?attachments/ry-21-png.85604/
  21           •   https://forum.thothub.tv/index.php?attachments/ry-22-jpg.85605/
  22           •   https://forum.thothub.tv/index.php?attachments/ry-22-png.85606/
               •   https://forum.thothub.tv/index.php?attachments/ry-25-png.85612/
  23           •   https://forum.thothub.tv/index.php?attachments/ry-32-jpg.85619/
  24           •   https://forum.thothub.tv/index.php?attachments/ry-39-jpg.85626/
               •   https://forum.thothub.tv/index.php?attachments/ry-38-jpg.85625/
  25
               •   https://forum.thothub.tv/index.php?attachments/ry-44-jpg.85631/
  26           •   https://forum.thothub.tv/index.php?attachments/ry-45-jpg.85632/
  27           •   https://forum.thothub.tv/index.php?attachments/ry-47-jpg.85634/
               •   https://forum.thothub.tv/index.php?attachments/ry-48-jpg.85635/
  28           •   https://forum.thothub.tv/index.php?attachments/ry-51-jpg.85638/

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 35 of 89 Page ID #:383



   1            •   https://forum.thothub.tv/index.php?attachments/ry-58-jpg.85645/
   2            •   https://forum.thothub.tv/index.php?attachments/ry-59-jpg.85646/
                •   https://forum.thothub.tv/index.php?attachments/ry-54-jpg.85641/
   3
                •   https://forum.thothub.tv/index.php?attachments/ry-72-jpg.85658/
   4            •   https://forum.thothub.tv/index.php?attachments/ry-64-jpg.85650/
   5
                •   https://forum.thothub.tv/index.php?attachments/ry-79-jpg.85665/
                •   https://forum.thothub.tv/index.php?attachments/ry-77-jpg.85663/
   6            •   https://forum.thothub.tv/index.php?attachments/ry-83-jpg.85669/
   7            •   https://forum.thothub.tv/index.php?attachments/ry-92-jpg.85720/
                •   https://forum.thothub.tv/index.php?attachments/ry-88-jpg.85715/
   8
                •   https://forum.thothub.tv/index.php?attachments/ry-107-jpg.85739
   9            •   https://forum.thothub.tv/index.php?attachments/ry-113-jpg.85784
  10
                •   https://forum.thothub.tv/index.php?attachments/ry-122-jpg.85794
                •   https://forum.thothub.tv/index.php?attachments/d7ws_hxwkaantkc-
  11                jpg.88977/
  12            •   https://forum.thothub.tv/index.php?attachments/ry-115-png.85786/
                •   https://forum.thothub.tv/index.php?attachments/ry-74-jpg.85660/
  13            •   https://forum.thothub.tv/index.php?attachments/ry-73-jpg.85659/
  14            •   https://forum.thothub.tv/index.php?threads/ry-la-z.1906/
                •   https://forum.thothub.tv/index.php?attachments/ry-106-jpg.85738/
  15
                •   https://forum.thothub.tv/index.php?attachments/ry-107-jpg.85739/
  16            •   https://forum.thothub.tv/index.php?attachments/ry-109-jpg.85741/
  17            •   https://forum.thothub.tv/index.php?attachments/ry-110-jpg.85742/
                •   https://forum.thothub.tv/index.php?attachments/ry-111-jpg.85743/
  18            •   https://forum.thothub.tv/index.php?attachments/ry-112-jpg.85745/
  19            •   https://forum.thothub.tv/index.php?attachments/ry-113-jpg.85784/
                •   https://forum.thothub.tv/index.php?attachments/ry-114-jpg.85785/
  20
                •   https://forum.thothub.tv/index.php?attachments/ry-115-png.85786/
  21            •   https://forum.thothub.tv/index.php?threads/ry-la-z.1906/
  22
             120. Several of these addresses (in particular, those that refer to “threads” in
  23
       the URL) depicted more than one copyrighted work, in many cases dozens.
  24
  25         121. Ryuu Lavitz utilized the Cam Model Protection service to submit
  26
       multiple takedown requests regarding Thothub. Even when Ryuu Lavitz’s works were
  27
       removed from Thothub, the works reappeared on Thothub soon after.
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 36 of 89 Page ID #:384



   1         122. In May 2020, Ryuu Lavitz sent a complete DMCA notice to Cloudflare
   2
       via its web portal. Cloudflare responded on May 11 that it “received your copyright
   3
   4   infringement complaint regarding: thothub.tv.” Like the response to McGehee, the

   5   response to Ryuu Lavitz stated that Cloudflare is a “pass-through security service”
   6
       and that Cloudflare was “unable to process your DMCA complaint because it is
   7
   8   missing one or more of the following required pieces of information,” whereupon the

   9   response listed all of the statutory notice requirements from the DMCA.
  10
             123. Ryuu Lavitz replied, again including the information that Cloudflare had
  11
  12   said might be missing from the notice. Cloudflare did not respond.

  13      D. Publication of Plaintiffs’ Works on Thothub Caused Plaintiffs Harm.
  14
             124. The unauthorized publication of Plaintiffs’ copyrighted works on
  15
  16   Thothub has caused them harm. This harm includes both pecuniary harm (such as lost
  17   subscription fees and reasonable royalties) and non-pecuniary harm (such as damage
  18
       to Plaintiffs’ businesses, honor and reputations).
  19
  20         125. Regarding pecuniary harm, the unlawful publication of Plaintiffs’ works
  21   has deprived them of subscription fees that they otherwise would have received for
  22
       access to these works. For example, as one commenter said, it was not “worth it” to
  23
  24   subscribe to Waidhofer’s accounts because her works were available for free.
  25
             126. Plaintiffs have also been deprived the value of a reasonable royalty for
  26
       use of their copyrights. In a hypothetical negotiation regarding use of their works on
  27
  28   Thothub, Plaintiffs would have required, at minimum, an amount commensurate with


                                                 36
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 37 of 89 Page ID #:385



   1   what Plaintiffs would have received in fees and royalties for allowing the same
   2
       number of persons to view their works on the Licensed Sites.
   3
   4         127. Because Plaintiffs’ works were distributed to a much larger audience on

   5   Thothub (compared with on the Licensed Sites), Plaintiffs did not have any control
   6
       over who had access to their works on Thothub (as they did on Licensed Sites), and
   7
   8   Plaintiffs could not control the setting and context for their works on Thothub (again

   9   unlike the Licensed Sites), in a hypothetical negotiation of a reasonable royalty for
  10
       use of the works, Plaintiffs would have required a substantial premium in order to
  11
  12   allow their works to be displayed and distributed on Thothub.

  13         128. Plaintiffs have also suffered harm to their businesses as a result of the
  14
       infringement. For instance, the publication of Plaintiffs’ works alongside
  15
  16   pornographic works on Thothub has had an adverse impact on Plaintiffs’ modeling
  17   careers, advertising and promotional businesses, and/or merchandising.
  18
             129. Plaintiffs have also suffered reputational and business harm as a result
  19
  20   of their names and likenesses (which are known to hundreds of thousands or millions
  21   of people) being used without their permission on Thothub.
  22
             130. Plaintiffs have also suffered harm to their personal honor and reputation.
  23
  24   Whereas only a limited number of people had access to Plaintiffs’ works through the
  25
       Licensed Sites and Plaintiffs had control over access, as a result of the publication of
  26
       their works on Thothub, millions of people have now seen the works.
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 38 of 89 Page ID #:386



   1         131. Rather than having control over the setting and display of their works
   2
       and body, how these are displayed, and to whom they are displayed, Plaintiffs’ works
   3
   4   and bodies were displayed on Thothub to millions of unknown viewers alongside

   5   pornographic content. The different setting for the display of Plaintiffs’ works had a
   6
       significant effect on how the works and Plaintiffs themselves were perceived, which
   7
   8   in turn negatively affected Plaintiffs’ honor and reputation.

   9         132. In addition, Waidhofer has suffered particular harm as the result of the
  10
       publication of the unpublished semi-nude photographs. Waidhofer never intended to
  11
  12   publish nude or semi-nude photographs. If she ever decided to do so, she had the right

  13   to determine when, how, to whom, and for what price. Waidhofer’s unpublished semi-
  14
       nude photos were published on Thothub without her consent. Now those photos are
  15
  16   widely available across the Internet and have been seen by millions.
  17         133. While Plaintiffs have suffered harm, the Operators benefitted from the
  18
       use of Plaintiffs’ works, including through advertiser commissions.
  19
  20         134. The Advertisers also benefitted from the unlawful use of Plaintiffs’
  21   content as a result of sales and leads generated through their affiliate, Thothub,
  22
       including specifically from pages featuring Plaintiffs’ copyrighted works.
  23
  24      E. Thothub Features Creator Content Stolen from the Licensed Sites.
  25
             135. As noted above, Thothub was a website that was billed as “the home of
  26
       daily free leaked nudes from the hottest Onlyfans, twitch, youtube, patreon models
  27
  28


                                                 38
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 39 of 89 Page ID #:387



   1   and streamers.” This description was in the text for the first search result on the
   2
       Google search engine for the query “Thothub.”
   3
   4         136. As one leading reviewer of online adult entertainment put it: “Thot Hub

   5   [sic] is the perfect place for all of you who like to enjoy thots showing you all of their
   6
       goods but don’t like paying for it.” This language appeared in the text for the second
   7
   8   search result on the Google search engine for the query “Thothub.”

   9         137. The review went on to say of Thothub: “Sure, you can see some
  10
       highlights on the website where the thots (that hoe over there) are actually doing their
  11
  12   live cam show, but you don’t have to end up paying top puck in order to watch those.

  13   Instead, there are sites that take those videos and present them to you for free. One
  14
       such site is Thothub.tv.” The review then reiterated in large font that Thothub offered
  15
  16   “[f]ree content that you’d otherwise have to pay for.”
  17         138. The Thothub homepage featured links to photo and video sets of various
  18
       women, with each link showing thumbnail screenshots from the content available
  19
  20   through the link. These links were regularly updated, usually multiple times per day,
  21   with new stolen content that Thothub’s members had acquired from behind the
  22
       paywall of Licensed Sites (as explained in further detail below).
  23
  24         139. In the desktop version of Thothub, links were generally arranged in three
  25
       columns, with three rows visible in the frame before scrolling. In addition to the
  26
       desktop version, Thothub also had a mobile version.
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 40 of 89 Page ID #:388



   1         140. Clicking on any of the content links took the user to a separate Thothub
   2
       webpage where creators’ works from the Licensed Sites appeared.
   3
   4         141. The vast majority of the content on Thothub was stolen from the

   5   Licensed Sites. For example, between June 8 and July 8, 2020 alone, there were at
   6
       least 208 new posts on the Thothub homepage that remained live as of July 8. Of
   7
   8   those, 146 showed works from OnlyFans, and 49 showed works from Patreon. Thus,

   9   over 90% of this content was from the Licensed Sites.
  10
             142. In addition to the stolen content, Thothub offered a small amount of so-
  11
  12   called “verified” content. In order to become “verified,” according to a statement on

  13   the Thothub website, a model had to provide “a demo image/video set and a link to
  14
       one of [her] preferred monetization pages” and had to submit a “photo of [herself]
  15
  16   holding up a sign with [her] username and thothub.tv written on it” in which “most of
  17   [her] face” was visible, among other requirements.
  18
             143. But only a small fraction of the content on Thothub was “verified.” For
  19
  20   example, out of the 208 posts that appeared on the homepage between June 8 and July
  21   8, 2020, only seven indicated that the content was “verified.” In total, based on the
  22
       number of linked sets that appeared under the “Verified” tab on the Thothub
  23
  24   homepage, there were only 38 “verified” posts in Thothub’s entire history.
  25
             144. The vast majority of the content that appeared on Thothub was
  26
       “unverified.” All or nearly all of this content was unauthorized (infringing).
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 41 of 89 Page ID #:389



   1         145. One of the tabs at the top of the Thothub homepage read “A-Z.” Clicking
   2
       this link pulled up an alphabetized glossary of some creators whose works appeared
   3
   4   on Thothub. Clicking on any name in the glossary led to a separate Thothub page

   5   where content from the selected creator appeared. As of July 2020, there were 563
   6
       different women listed, including Waidhofer and McGehee.
   7
   8         146. Thothub did not have authorization to display these works. In recognition

   9   of that, Thothub’s homepage stated in a footer note: “THOTHUB.TV IS A PARODY.
  10
       IT PROVIDES AN AUTOMATIC STREAM OF CONTENT SENT IN FROM E-
  11
  12   GIRLS.” This falsely asserts that the content was “sent in from e-girls.”

  13         147. The stolen works that appeared on Thothub were not, and could not
  14
       reasonably be characterized as, parodies. As one adult entertainment reviewer
  15
  16   explained matter-of-factly in reviewing Thothub: “At the very bottom of ThotHub.tv
  17   you’ll see the claim that the website is a ‘parody’: I don’t think they know what that
  18
       word means because all of the stuff I’m seeing here is 100% real.”
  19
  20      F. The Operators Exercised Authority and Control on Thothub.
  21         148. The Operators’ statements on Thothub indicated that they exercised
  22
       authority and control over the Thothub site and community, that they had the ability
  23
  24   to grant or restrict access to site features or content, that they had the right and ability
  25
       to control content on Thothub, that they entered into contracts related to Thothub
  26
       (including with the Advertisers through CrakRevenue and service providers like
  27
  28


                                                   41
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 42 of 89 Page ID #:390



   1   Cloudflare), and that they had access to the background technical infrastructure,
   2
       computer systems, and servers used to operate Thothub.
   3
   4         149. The Operators communicated with other users on Thothub through an

   5   online “forum” on the site. The forum could be accessed through a tab at the top of
   6
       the homepage labeled “Forums” or at http://forum.thothub.tv.
   7
   8         150. In the forum, registered users could post messages under a username.

   9   Some users’ handles indicated that they had attained particular status on the site. For
  10
       example, the handles identified certain senior users as a “Moderator,” “High Roller,”
  11
  12   or “VIP,” among other titles. On the other hand, newer users on the site had less

  13   prestigious titles such as “Lurker,” “Starter,” or “Member.”
  14
             151. The username for each of the Operators indicated that the unidentified
  15
  16   individuals behind those usernames had attained certain status in the Thothub
  17   organization. In particular:
  18
                 • “Captain Thotcakes” indicated that he/she was a “Moderator,” “High
  19
                   Roller,” and “VIP”;
  20
                 • “Teller” indicated that he/she was a “Moderator” and “High Roller”;
  21
  22             • “GOD” indicated that he/she was a “Founder,” “High Roller,” and
                   “Father of All”;
  23
  24             • “Ironman891” indicated that he/she was “The Pit Crew” and a “High
  25               Roller”;

  26             • “Merchant” indicated that he/she was a “Moderator,” “High Roller,” and
  27               “VIP”;

  28             • “Cityzen7” indicated that he/she was a “Moderator” and “High Roller”;

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 43 of 89 Page ID #:391



   1
   2           • “Vassar” indicated that he/she was part of “The Gang,” a “Moderator,”
                 “High Roller,” and “VIP”;
   3
   4           • “Azrael” indicated that he/she was a “Moderator,” “High Roller,” and
                 “VIP”;
   5
   6           • “Ewoklove” indicated that he/she was a “Thot Master” and “High
                 Roller”;
   7
   8           • “RealAccount” indicated that he/she was a “Moderator,” “High Roller,”
                 and “VIP”;
   9
  10           • “Nick7712” indicated that he/she was a “Moderator,” “High Roller,” and
  11
                 “VIP”;

  12           • “Swix” indicated that he/she was a “Moderator,” “High Roller,” and
  13             “VIP”;

  14           • “Nudeleaks” indicated that he/she was part of “The Gang,” “Moderator,”
  15             and “High Roller”;

  16           • “Tallie” indicated that he/she was part of “The Gang”;
  17
               • “Bigsausagestromboli” indicated that he/she was a “Moderator” and
  18
                 “High Roller”;
  19
               • “TonyStark420” indicated that he/she was a “Moderator” and “High
  20
                 Roller”;
  21
               • “Thighdeologist” indicated that he/she was a “Moderator” and “High
  22
                 Roller”;
  23
  24           • “El Drago” indicated that he/she was a “Moderator” and “High Roller”;

  25           • “De_sercier” indicated that he/she was a “Moderator,” “High Roller,”
  26             and “VIP”;

  27           • “SWEDISH CHEF” indicated that he/she was a “Moderator,” “High
  28             Roller,” and “VIP”;


                                             43
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 44 of 89 Page ID #:392



   1
   2            • “FatherofSlain” indicated that he/she was a “Thot Elder” and “High
                  Roller.”
   3
   4         152. The Forum contained several separate sub-forums, including (a)

   5   “Thothub News”; (b) “Verified models”; (c) “The pit – Where new users are
   6
       welcomed”; and (d) “Tech Support,” among others.
   7
   8         153. In the category “Thothub News,” there were several messages in which
   9   the Operators imposed rules and discussed technical issues related to Thothub.
  10
             154. For example, in one pinned message dated June 13, 2019 entitled
  11
  12   “Community Guidelines Update 2020. READ ME!” the Operator, Teller, wrote:
  13         Hello everyone, with growth comes an official guidelines manual for all
  14         of you and the mods. We feel it is time to get a couple of willing people
             on board to make sure this place doesn’t turn into a spam fiesta. Adherence
  15         to these guidelines shall be determined at the sole discretion of thothub.tv
  16         and the forum moderators. Keep in mind that your ability to use the forums
             is a privilege, not a right. …
  17
  18         There will never be thread removal discussions, we have the right to
             remove any and all content on thothub.tv for any reason we deem
  19         necessary.
  20
             155. This post went on to describe a “Warning Points” system under which
  21
       Thothub users were subject to sanctions for violating the Operators’ rules. Among
  22
  23   those sanctions, users who received “2 warning points” were sanctioned with “limited
  24
       posting and access”; users who received “3 warning points” received a “[t]emporary
  25
       ban of 1 month”; users who received “4 warning points” were sanctioned such that
  26
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 45 of 89 Page ID #:393



   1   their “connection will be slowed down and dropped occasionally”; and users who
   2
       received “5 warning points” received a “[p]ermanent ban.”
   3
   4         156. Another pinned message in the “Thothub News” discussion board

   5   entitled “Welcome to the thothub.tv forums! Rules and Features inside – read me!”
   6
       by Teller dated April 14, 2019, provided an explanation for the titles in the Thothub
   7
   8   organization and how those titles were attained. This message explained that Thothub

   9   members and users could attain higher status by receiving “likes” from longer-
  10
       standing members regarding their posts of stolen content.
  11
  12         157. The user’s title depended on how many likes the user’s posts received.

  13   For example, at “25 likes,” the user would become a Thothub “Member” with “[a]ll
  14
       functionality unlocked” on the site. At “600 likes,” the user would become a “Thot
  15
  16   Master/High Roller” and receive “access to the private high roller rooms.”
  17         158. Other posts indicated that the Operators operated Thothub’s computer
  18
       systems. For example, on May 28, 2020, Teller posted that the site would be down
  19
  20   “[d]ue to hardware malfunction.” Similarly, on August 4, 2019, Teller wrote a post
  21   stating that the “main page is offline due to technical issues in our datacenters.” On
  22
       June 19, 2019, Teller wrote a post in which he stated that “[b]oth the main website
  23
  24   and forums were down for 1 minute for much needed upgrades (extended storage and
  25
       extra CPU cores to further increase speedy user experience).” On June 13, 2019,
  26
       Teller wrote a post in which he stated that “[p]eople might experience a couple of
  27
  28   clips being offline as one of our video servers crashed today, we are working hard on


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 46 of 89 Page ID #:394



   1   getting it back online soon.” There were many other messages in which Teller
   2
       provided information about various technical issues or improvements.
   3
   4         159. Thothub included a “Contact Us” form that could be accessed through a

   5   link in the header and/or footer of the site, and at times there was also a contact email
   6
       address listed on the site. However, Thothub’s operators routinely ignored takedown
   7
   8   requests from individual creators sent through these avenues.

   9         160. For example, Waidhofer submitted at least three takedown requests to
  10
       Thothub, both via email and via Thothub’s online form. She received no response to
  11
  12   these requests, and her photos remained on Thothub for many months afterwards until

  13   the site was shut down after this lawsuit was filed.
  14
             161. Cam Model Protection submitted many takedown notices to Thothub on
  15
  16   behalf of McGehee and Ryuu Lavitz. However, the works reappeared right away.
  17         162. A Reddit user named “throwawayonlyfan” posted earlier this year that
  18
       she had “copyrighted” OnlyFans photos that sell “for a set price.” She continued:
  19
  20   “These have in the past few months been leaked on a website called thothub.tv. The
  21   website is well known to ignore all copyright infringement takedowns, emails,
  22
       complaints. I sent several dmca requests beginning in November [2019], all have been
  23
  24   ignored. … I’ve reported the comments over and over, and emailed begging the
  25
       website again to at least take my personal info down, but they’re still ignoring.”
  26
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 47 of 89 Page ID #:395



   1      G. Thothub Was Built Through Criminal Copyright Infringement.
   2
             163. Users could only become members of Thothub, and therefore gain access
   3
       to the full set of content and features on the site, if they made “qualifying
   4
   5   contributions” of stolen works. Qualifying contributions were expressly defined by
   6
       the Operators as paid content from the Licensed Sites that was not publicly available
   7
       and not already available on Thothub.
   8
   9         164. In order to count as “qualifying contributions,” user submissions had to
  10
       be validated by “likes” from longer-standing members of Thothub.
  11
             165. In a pinned post from May 11, 2020 entitled “WELCOME – READ ME
  12
  13   FIRST !! (I’ll Explain Everything)” that appeared in the “The Pit – Where new users
  14
       are welcomed” sub-forum (often referred to on Thothub as the “Pit”), Captain
  15
       Thotcakes “explain[ed] everything” about how Thothub operated.
  16
  17         166. The body of the message stated that “a new user (Lurker)” would “have
  18
       limited access to the forums and features of the website” until the new user “post[ed]
  19
  20
       a contribution in here on this beginners board (Called the Pit) and [got] some LIKES

  21   from an experienced member,” at which point the user’s “rank [would] increase and
  22
       the forums and features [would] unlock.” The message also made clear that “Lurkers
  23
  24   and New Members can not [sic] give LIKES in The Pit, only members ranked above

  25   Thot Master will be able to approve your contributions.”
  26
             167. The message also made clear that the Operators were “looking
  27
  28   exclusively for PAID material / LEAKED photos and vids / PREMIUM content.” The


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 48 of 89 Page ID #:396



   1   message clarified that this was “[s]tuff that’s not easily available to the public / or is
   2
       locked behind a paywall / subscription.” As “[e]xamples” of such content, it
   3
   4   specifically mentioned “Patreon” and “Onlyfans” first.

   5         168. The message also made clear that content that was already in the public
   6
       domain or on Thothub would not constitute “qualifying contributions.” In particular,
   7
   8   “[t]hings that will NOT qualify might be … [p]ublic social media material … [a]ny

   9   mainstream or public professional nude modeling sets … [and] [r]epeat material.”
  10
             169. The message explained that the new user must post a significant amount
  11
  12   of infringing content in order to become a Thothub member, including “at least 8 to

  13   10 pics – a FULL album, a SET, a gallery, or a collection of photos from a model that
  14
       you follow so that you can gain access to the rest of the site.”
  15
  16         170. The message also noted that “[e]verything in here will be moved to the
  17   graveyard subforum” four days after it is posted and that, in the intervening time,
  18
       “high ranked members will pass by to evaluate your contribution and invite you in.”
  19
  20   In order to access the “graveyard subforum,” a user had to be a Thothub member.
  21         171. The Operators also routinely solicited paid content of specific creators,
  22
       which they referred to as “bounties.” If aspiring Thothub members delivered the
  23
  24   requested stolen content, they could become members.
  25
             172. In the “Pit” sub-forum, there were five pinned tweets devoted to bounties
  26
       created by various Operators. The posts included (1) “Trying to get out ? Take a look
  27
  28   here for Like” by ironman891; (2) “Want out of the Pit? Need a like? Here are some


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 49 of 89 Page ID #:397



   1   ladies I am looking for!” by ewoklove; (3) “So you need likes to get out of the pit.
   2
       Here are models that you can post full sets of here in this thread from Patreon” by
   3
   4   TonyStark420; (4) “The Pit Bounty Board – Lurkers check here to see what you

   5   should post to get out of the pit” by Vassar; and (5) “LIST of 60 Models That Have
   6
       Onlyfans Starting at $3” by Captain Thotcakes.
   7
   8         173. In the post entitled “Trying to get out ? Take a look here for a Like,” the

   9   Operator “ironman891” stated: “If some of you have PAID content for that model’s
  10
       them [sic] post them and will be able to leave the Pit.” He notes that “when [you]
  11
  12   create a new post here don’t forget to tag me @ironman891 or @Cityzen7.” The post

  13   then listed sixteen creators from the Licensed Sites whose works he sought.
  14
             174. Subsequent posts in the same thread, continuing for several months,
  15
  16   indicated that Ironman891 continually updated the post to add new creators.
  17         175. In the post entitled “Want out of the Pit? Need a like? Here are some
  18
       ladies I am looking for!” the Operator “ewoklove” wrote: “If you are looking to get
  19
  20   out of the pit and have any of these, tag me and I’ll give you a like.” Ewoklove listed
  21   eight creators. One user responded by posting “all the current content” on the
  22
       “onlyfans account” for a creator from the original post, with the message that “I hope
  23
  24   this is enough to get me out of the pit.” Ewoklove responded: “Oh wow! Yes it is!
  25
       This is more than fantastic! Thank you. Please keep sharing material!”
  26
             176. When a different user offered photos from a creator’s public Instagram,
  27
  28   Ewoklove responded: “man, I appreciate the effort. But it takes more than ripping free


                                                 49
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 50 of 89 Page ID #:398



   1   stuff off her Instagram. Do you have any of her premium content?” When yet another
   2
       user posted paid content, Ewoklove wrote: “This is gold! Thank you! And welcome,
   3
   4   we are happy to have you as part of the community. Please continue to post!”

   5         177. In the post entitled “So you need likes to get out of the pit. Here are
   6
       models that you can post full sets of here in this thread from Patreon,” the Operator
   7
   8   “TonyStark420” wrote: “So you want out of the pit. Post full sets of these Models

   9   linked below, and I will make sure you get likes. Models can and will be changed
  10
       from time to time.” He listed several creators from Patreon.
  11
  12         178. In the post entitled “The Pit Bounty Board – Lurkers check here to see

  13   what you should post to get out of the pit,” the Operator “Vassar” wrote: “Lurkers –
  14
       check this main post for bounties. Create a new post and tag the user that posted the
  15
  16   bounty when you share their content.” The message then listed dozens of creators
  17   from the Licensed Sites under the heading “Bounties.”
  18
             179.   Finally, in the post entitled “LIST of 60 Models That Have Onlyfans
  19
  20   Starting at $3,” the Operator Captain Thotcakes explained that infringement was the
  21   only way to become a Thothub member. He wrote: “We keep getting the question
  22
       from New Users: ‘Can I just pay for a Operatorship / Donate to get off Lurker status??’
  23
  24   Unfortunately we don’t have an option for that at the moment – HOWEVER – I have
  25
       hunted down over 60 girls that have super inexpensive content on Onlyfans. You can
  26
       use the money instead, to sub to any of them, then post your content here!! ((BOOM
  27
  28   – YOU’RE OUT OF THE PIT JUST LIKE THAT!! )).”


                                                 50
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 51 of 89 Page ID #:399



   1         180. By subscribing to one “super inexpensive” OnlyFans creators’ accounts
   2
       and stealing that creator’s paid content, Thothub users could thus gain access to an
   3
   4   extensive library of other stolen content from the Licensed Sites.

   5         181. The Operators also encouraged and assisted Thothub users in evading
   6
       copyright enforcement. For instance, in a pinned post on the forum entitled “How to:
   7
   8   DMCA-proof your picture and video uploads,” users were advised of tools and

   9   methods they could use to upload stolen content and evade enforcement.
  10
          H. The Infringement Generates High Traffic on Thothub.
  11
  12         182. As of the afternoon of July 27, 2020, the Thothub site stated in a box

  13   labeled “Forum statistics” that it had 1,098,477 “members.” By the time Thothub shut
  14
       down, it had more than 1.1 million members.
  15
  16         183. According to web traffic analytics, as of July 2020, Thothub was the
  17   1,197th most trafficked domain on the Internet, the 110th most popular domain in the
  18
       “Adult” category, and the 655th most trafficked domain overall for U.S. users.
  19
  20         184. Metrics such as overall traffic, clicks per visit, total clicks, and average
  21   duration of visit are common factors used to assess website value and advertising
  22
       costs. In June 2020, according to SimilarWeb data, Thothub received approximately
  23
  24   24.67 million total visits with an average of 8.58 clicks per visit, for a total of more
  25
       than roughly 211,668,600 clicks in that month alone. Approximately 33.38% of the
  26
       June 2020 traffic on Thothub was from the United States.
  27
  28


                                                 51
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 52 of 89 Page ID #:400



   1         185. Similarly, in December 2019, the site generated nearly 24 million visits
   2
       from over 5.5 million unique visitors. On average, each visit resulted in more than 8
   3
   4   clicks per visit, equating to roughly 200,000,000 clicks in that month.

   5         186. As explained below, Thothub’s operators sold advertising space on
   6
       Thothub to the Advertisers through CrakRevenue and earned kickbacks
   7
   8   (commissions) from leads and/or sales generated through clicks on advertiser ads.

   9      I. Cloudflare Infringes and Contributes to Infringement on Thothub.
  10
             187. Cloudflare provided certain services for Thothub that enabled the
  11
       distribution of copyrighted works, stored copyrighted works on Cloudflare’s network,
  12
  13   off-loaded huge amounts of traffic from Thothub’s home servers (thus allowing wider
  14
       distribution and preventing crashing), shielded Thothub from discovery by copyright
  15
       owners and law enforcement, and protected Thothub from cyberattacks.
  16
  17         188. Cloudflare’s business, as described on its website, includes “[u]ltra-fast
  18
       static and dynamic content delivery,” “[i]ncreased agility and control over how
  19
  20
       content is cached,” and “[b]uilt-in unmetered DDoS [distributed denial of service]

  21   protection.” Cloudflare’s marketing states that storing content on Cloudflare’s
  22
       network reduces the need to source content from the origin.
  23
  24         189. Cloudflare provides services to both paying and non-paying customers.

  25   On information and belief, Thothub was a paying-customer site.
  26
  27
  28


                                                 52
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 53 of 89 Page ID #:401



   1         190. Cloudflare offers different paid service plans. Its “Business” plan, which
   2
       it advertises as “ideal for small businesses operating online,” starts at $200 per month.
   3
   4   Prices for these plans fluctuate month to month based on usage.

   5         191. Meanwhile, Cloudflare’s “Enterprise” plans are “for mission-critical
   6
       applications that are core to your business,” and include “advanced security,
   7
   8   performance and reliability features.”

   9         192. There is no set price for Enterprise plan services. Rather, customers must
  10
       “Ask for Quote” for an Enterprise plan. Cloudflare salespersons create bespoke cost
  11
  12   structures for each Enterprise plan customer based on numerous factors.

  13         193. Consultations for “Enterprise” plans typically take place over the phone
  14
       between customers and Cloudflare representatives. A Reddit user named “FTMayor”
  15
  16   wrote: “I work on the Cloudflare sales team and can tell you that every org interested
  17   in an enterprise plan receives a custom quote – hence the preference for a phone call.
  18
       Even if it’s only 10-15min, being able to dive a little bit deeper into your current usage
  19
  20   and goals helps immensely to tailor the plan to your organization’s needs.”
  21         194. In performing services for Thothub, Cloudflare has copied, stored, and
  22
       distributed copies of the Plaintiffs’ copyrighted works.
  23
  24         195. Cloudflare stored much of Thothub’s site, including pages featuring
  25
       Plaintiffs’ copyrighted works, for extended periods on its servers across the country.
  26
       When a user in the United States sought to access these pages, Cloudflare delivered
  27
  28   the content directly to the user from the nearest Cloudflare data center. In most cases,


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 54 of 89 Page ID #:402



   1   Cloudflare did not need to retrieve this content from Thothub’s servers before
   2
       delivering it because the content was already on Cloudflare’s servers.
   3
   4         196. By storing Thothub content on Cloudflare’s network, Cloudflare

   5   offloaded a lot of traffic from Thothub’s servers. If this traffic had been directed to
   6
       Thothub’s servers rather than offloaded to Cloudflare’s network, Thothub’s servers
   7
   8   likely would have been overrun and crashed. As a result, Thothub would not have

   9   been able to operate effectively, and certainly not on such a large scale.
  10
             197. At all or nearly all times that Cloudflare provided services for Thothub,
  11
  12   the most commonly accessed pages—such as the homepage, the A-Z glossary, and

  13   the infringing content (including Plaintiffs’ works) that appeared on Thothub’s main
  14
       and featured pages—were stored on Cloudflare servers.
  15
  16         198. Even if Thothub’s home server had crashed, in many cases, the end-user
  17   could still receive the infringing content from Cloudflare.
  18
             199. Cloudflare’s account dashboard, which is available to its customers,
  19
  20   provides detailed metrics about exactly how much traffic was offloaded from the
  21   customers’ home servers to Cloudflare’s network. It also provides detailed metrics
  22
       about the volume and nature of traffic on the customers’ sites.
  23
  24         200. In circumstances where a user sought Thothub content not already stored
  25
       on Cloudflare’s servers, Cloudflare retrieved the content from Thothub’s servers then
  26
       provided it to the user. The content then remained on Cloudflare’s servers. If another
  27
  28


                                                 54
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 55 of 89 Page ID #:403



   1   user requested the content, Cloudflare delivered it directly without having to retrieve
   2
       the content from Thothub again.
   3
   4         201. Publicly available records from Whois showed that Cloudflare servers

   5   were the “name servers” for the Thothub site. These servers received all user requests
   6
       to access or view Thothub. The Whois Report states that the IP Location for Thothub
   7
   8   was “Cloudflare Inc.”; that the autonomous system number (ASN) was “AS13335

   9   CLOUDFLARENET”; and that the server type was “cloudflare.”
  10
             202. The Whois Report also showed that the specific URLs where Plaintiffs’
  11
  12   works were displayed on Thothub were supported by Cloudflare.

  13         203. Users could not access Thothub except through Cloudflare. Cloudflare
  14
       offers a service called an “Argo Tunnel” which Cloudflare’s website says “creates an
  15
  16   encrypted tunnel between [the customer’s] origin web server and Cloudflare’s nearest
  17   data center—all without opening any public inbound ports. … After locking down all
  18
       origin server ports and protocols using your firewall, any request on HTTP/S ports
  19
  20   are dropped, including volumetric DDos attacks.”
  21         204. The Argo Tunnel ensures that the only way to access the customer’s
  22
       servers is through Cloudflare. All other public-facing “ports” (outlets) on the
  23
  24   customer’s server are blocked.
  25
             205. Cloudflare’s Argo Tunnel is a paid service that costs $5 per month and
  26
       then $.10 per GB transferred (after the first 1 GB) for most Cloudflare plans. Given
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 56 of 89 Page ID #:404



   1   the volume of data transferred on Thothub, this service would likely have cost at least
   2
       several thousand dollars each month for Thothub.
   3
   4          206. On information and belief, Cloudflare set up an Argo Tunnel for

   5   Thothub. The only way in or out of Thothub’s server(s) was via Cloudflare, except
   6
       one port (Port 8443) reserved for administrators. All public traffic accessing Thothub
   7
   8   was directed through Cloudflare. Even if a user knew Thothub’s home server IP

   9   address and tried to access Thothub’s server directly, the user would receive an error
  10
       message saying that the server could not accept any traffic.
  11
  12          207. If Cloudflare had “closed” the Thothub tunnel (and ceased delivering

  13   Thothub content that Cloudflare already had stored on its servers), as a practical
  14
       matter, Thothub would no longer have been available on the Internet.
  15
  16       J. Cloudflare Protects Pirates and Covers Up Its Own Infringement.
  17          208. Cloudflare has carved out a competitive niche by serving illegal pirate
  18
       sites that other large CDN companies like Akamai Technologies would not.
  19
  20          209. Cloudflare has been called “Artist Enemy #1” and a “key player in the
  21   piracy ecosystem.”4 According to a 2018 European Commission report (the “E.U.
  22
       Report”)5 regarding entities that threaten intellectual property rights: “Cloudflare is
  23
  24
  25
       4
        See The Trichordist, “2019 Artist Enemy #1: Cloudflare.” (Jan. 1, 2019), available at
  26   https://thetrichordist.com/2019/01/01/2019-artist-enemy-1-cloudflare/.
  27   5
        The E.U. Report is available at:
  28   http://trade.ec.europa.eu/doclib/docs/2018/december/tradoc_157564.pdf.


                                                      56
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 57 of 89 Page ID #:405



   1   used by approximately 40% of the pirate websites in the world. It operates as a front
   2
       host between the user and the website’s back host, routing and filtering all content
   3
   4   through its network of servers. Out of the top 500 infringing domains based on global

   5   Alexa rankings, 62% (311) are using Cloudflare’s services.”
   6
             210. The E.U. Report also notes that “Cloudflare provides anonymity to the
   7
   8   owners and operators of the websites that use its services, which is particularly useful

   9   for the operators of pirate websites. If the website uses Cloudflare, the IP address of
  10
       the back host is replaced by one of CloudFlare’s dedicated IP addresses and is
  11
  12   therefore no longer ascertainable and Cloudflare reportedly does not easily provide

  13   information on the IP address of the back host.”
  14
             211. Cloudflare specifically markets to customers who want to conceal their
  15
  16   IP, including illegal pirate sites. As Cloudflare states in its marketing: “Cloudflare
  17   will mask your IP.” As a result of this masking, when copyright owners look for
  18
       information about Cloudflare customers on standard Whois lookup services, there is
  19
  20   no information about the customer’s IP address available.
  21         212. The word has gotten out among pirates that Cloudflare will protect them
  22
       and ignore repeat infringement. In 2019, approximately 44.7% of all copyright-
  23
  24   infringing URLs reported to Google were run through Cloudflare’s servers.
  25
             213. By interposing itself between copyright holders and Thothub, Cloudflare
  26
       inhibited copyright enforcement. Indeed, this was one of the most valuable services
  27
  28   that Cloudflare did for Thothub. As the Recording Industry Association of America


                                                 57
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 58 of 89 Page ID #:406



   1   noted in a memo to the U.S. Trade Representative: “More and more pirate sites
   2
       employ reverse proxy services, most commonly Cloudflare, to obfuscate their IP
   3
   4   address, creating obstacles to enforcement against such sites.”6

   5          214. Cloudflare’s “Transparency Report” says that it is “not Cloudflare’s
   6
       intent to make law enforcement’s job axny [sic] harder, or easier” and that Cloudflare
   7
   8   has “never done” the following: (a) “turned over our encryption or authentication keys

   9   or our customers’ encryption or authentication keys to anyone”; (b) “installed any law
  10
       enforcement software or equipment anywhere on our network”; (c) “provided any law
  11
  12   enforcement organization a feed of our customers’ content transiting our network”;

  13   (d) “modified customer content at the request of law enforcement or another third
  14
       party”; (e) “modified the intended destination of DNS responses at the request of law
  15
  16   enforcement or another third party”; or (f) “weakened, compromised, or subverted
  17   any of its encryption at the request of law enforcement or another third party.”
  18
              215. In stating that Cloudflare has not done these things, Cloudflare implies
  19
  20   that it has the ability to do them. For instance, Cloudflare could provide law
  21   enforcement a feed of customers’ content on its network, or it could modify customer
  22
       content. However, Cloudflare chooses not to do so for business reasons.
  23
  24
  25
  26
       6
         See Recording Industry Association of America, Letter to Acting Ass’t U.S. Trade Rep. for
  27   Innovation & Intellectual Property, at 4 (Oct. 2, 2017), available at:
  28   https://docplayer.net/61248917-October-2-in-re-docket-no-ustr-dear-ms-kendall.html.


                                                      58
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 59 of 89 Page ID #:407



   1         216. Trey Guinn, Cloudflare’s head of solution engineering, admitted that
   2
       there are “many ways in which [Cloudflare] may modify content of a site.”
   3
   4         217. Cloudflare also will not voluntarily respond to “requests for information

   5   that might be used to identify a Cloudflare customer” and “requires valid legal process
   6
       such as a subpoena or a foreign government equivalent of a subpoena before providing
   7
   8   this type of information to either foreign or domestic law enforcement or civil

   9   litigants.” Thus, Cloudflare impedes enforcement efforts against pirates.
  10
             218. Regardless of how many infringement notices it receives and how well-
  11
  12   founded those notices are, Cloudflare does not take any steps to ensure that infringing

  13   content is removed from its customer’s site, nor does Cloudflare take steps to prevent
  14
       its servers from being used to copy and distribute the noticed infringing content.
  15
  16   Instead, Cloudflare continues to deliver the infringing content to users while falsely
  17   telling the person complaining of infringement that it is merely a “pass-through”
  18
       service and can do nothing to prevent the infringement.
  19
  20         219. Cloudflare has received numerous takedown requests related to Thothub.
  21   Per its usual practices, when it received a complaint about Thothub, Cloudflare
  22
       responded with form letters denying responsibility, misrepresenting the services it
  23
  24   performed, denying its ability to prevent the infringement, and failing to provide
  25
       contact information for its customer, while continuing to serve Thothub.
  26
             220. On information and belief, Cloudflare has received hundreds of
  27
  28   takedown notices from creators on the Licensed Sites related to Thothub.


                                                 59
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 60 of 89 Page ID #:408



   1         221. The Reddit user “throwawayonlyfan” wrote earlier this year that she sent
   2
       an infringement notice to Cloudflare about Thothub, “but [C]loudflare passed my
   3
   4   details and complaints onto the true host of the site.” It did nothing more.

   5         222. As explained above, Cloudflare also received DMCA takedown notices
   6
       from McGehee beginning in September 2019 and from Ryuu Lavitz in May 2020.
   7
   8   Cloudflare did not take any action to curtail the infringement after receiving these

   9   notices. Instead, Cloudflare brushed off the notices and continued to make and
  10
       distribute unlawful copies of the works identified in those notices.
  11
  12         223. Before filing this lawsuit, Waidhofer (through her attorneys) notified

  13   Cloudflare in writing about Thothub’s ongoing infringement of her copyrights. That
  14
       letter was dated and delivered on or about July 10, 2020.
  15
  16         224. Prior to receiving the takedown notice from Waidhofer, Cloudflare was
  17   storing many of Waidhofer’s copyrighted works—including all of the photos and the
  18
       composite video featured on the Thothub page entitled “NIECE WAIDHOFER
  19
  20   NUDE ONLYFANS LEAKED VIDEO AND PHOTOS” and the works on the page
  21   entitled “NIECE WAIDHOFER PATREON SEXY PHOTOS”—on its servers.
  22
       Waidhofer’s letter specifically identified this as infringing content.
  23
  24         225. After receiving the takedown letter from Waidhofer, on or about July 29,
  25
       2020, Cloudflare deleted stored copies of Waidhofer’s works on Thothub from its
  26
       own servers. On information and belief, these copies of Waidhofer’s copyrighted
  27
  28   works were intentionally deleted through a non-automated process.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 61 of 89 Page ID #:409



   1         226. Then, as discussed above, Cloudflare responded to Waidhofer’s letter on
   2
       August 7, 2020, falsely asserting that Cloudflare provides services “on a pass-through
   3
   4   basis.” On information and belief, Cloudflare intentionally deleted copies of

   5   Waidhofer’s content on Thothub after receiving Waidhofer’s letter in order to conceal
   6
       the true nature of its activities and services with respect to Thothub.
   7
   8         227. Although it deleted copies of the copyrighted works that were stored on

   9   its servers, Cloudflare continued to enable the infringement by delivering the same
  10
       infringing content from the same URLs to users via its proxy service.
  11
  12         228. When Thothub stopped operating shortly after this lawsuit was filed,

  13   users who attempted to visit Thothub received an error message entitled “Error 521”
  14
       from Cloudflare indicating that Cloudflare was still “[w]orking” and that Thothub’s
  15
  16   “web server [was] not responding.” Cloudflare was still providing service for
  17   Thothub, even after this suit was filed and Thothub itself had shut down.
  18
          K. Cloudflare Continues to Serve Many Similar Pirate Sites.
  19
  20         229. After Thothub shut down in the days following this lawsuit, several other
  21   copycat pirate sites emerged or grew larger in its place. For example, one similar
  22
       pirate site—which is available at www.sexy-egirls.com—claims to have obtained
  23
  24   approximately 100,000 new members in the week after Thothub shut down.
  25
             230. Like Thothub, these pirate sites traffic almost exclusively in works stolen
  26
       from the Licensed Sites and other similar sites. And like Thothub, these sites are open
  27
  28   and notorious about the fact that they specialize in infringing content.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 62 of 89 Page ID #:410



   1          231. The following is a non-exhaustive list of pirate sites (the “Other
   2
       Cloudflare-Serviced Pirate Sites”) similar to Thothub:
   3
   4             •   www.sexy-egirls.com (“Sexy E-Girls”)
                 •   www.sexy-youtubers.com
   5
                 •   www.socialmediagirls.com
   6             •   www.3x.wtf
                 •   www.dirtyship.com
   7
                 •   www.ibradome.com
   8             •   www.influencersgonewild.com
   9             •   www.leaknudes.com
                 •   www.lewdweb.net
  10
                 •   www.nudes7.com
  11             •   www.nudostar.com (“Nudostar”)
                 •   www.OnlyLeaks.me
  12
                 •   www.onlythots.com
  13             •   www.prothots.com
  14             •   www.thefappeningblog.com
                 •   www.thotbook.tv
  15             •   www.thots.tv
  16             •   www.thothub.ru7
                 •   cyberdrop.me (a file-hosting service) (“CyberDrop”)
  17
  18          232. Each of these sites unlawfully copies Plaintiffs’ copyrighted works, as
  19
       well as those of many other creators on Licensed Sites. And each of these sites exists
  20
       for the purpose of committing copyright infringement.
  21
  22          233. One common thread for all these sites is that all are Cloudflare
  23
       customers. The Whois report for each of these sites lists Cloudflare servers as the
  24
  25
  26
  27   7
        This site appears to be a nearly direct copycat of Thothub, using a similar name and employing
  28   very similar web design, formatting, and infringing content as Thothub.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 63 of 89 Page ID #:411



   1   “name servers” for these sites. This means that, as it did for Thothub, Cloudflare
   2
       stores, copies, and delivers all infringing content for these sites.
   3
   4         234. Earlier this year, Ryuu Lavitz and McGehee sent takedown notices to

   5   Cloudflare related to several of the sites listed above. These notices were sent via mail
   6
       to Cloudflare’s DMCA Designated Agent, Justin Paine, and via Cloudflare’s abuse
   7
   8   notice email address. To date, Cloudflare has only responded to a few.

   9         235. Regarding Ryuu Lavitz’s notice about Sexy E-Girls, which identified
  10
       dozens of URLs within that domain that contained Ryuu Lavitz’s infringed works,
  11
  12   Cloudflare acknowledged the complaint but said, in familiar misleading language,

  13   that it is a “pass-through security service.” The letter also stated that Cloudflare would
  14
       “only provide the IP of sexy-egirls.com to the responsible hosting provider if they
  15
  16   contact us directly at abusereply@cloudflare.com.”
  17         236. Regarding Ryuu Lavitz’s notice about Cyberdrop, Cloudflare again said
  18
       that it is merely “a reverse proxy, pass-through security service.” It also falsely
  19
  20   claimed that it was “unable to process your DMCA complaint because it is missing
  21   one or more of the following required pieces of information,” and then listed all of
  22
       the DMCA statutory notice requirements without explanation.
  23
  24         237. Regarding McGehee’s notice about Nudostar, Cloudflare responded
  25
       with the same form letter falsely claiming that the notice was deficient.
  26
             238. Cloudflare has not responded to the other takedown notices. Plaintiffs’
  27
  28   infringed works remain on these Other Cloudflare-Serviced Pirate Sites.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 64 of 89 Page ID #:412



   1         239. Cloudflare admits on its website that it has the ability, “[i]n appropriate
   2
       circumstances [to] disable access to Cloudflare services or terminate the accounts of
   3
   4   users determined to be repeat infringers.” But Cloudflare has not implemented a

   5   reasonable repeat-infringer policy. Cloudflare does not have reasonably adequate
   6
       protocols, policies, or metrics for addressing repeat infringement by customers, and it
   7
   8   does not take reasonable action after being notified about repeat infringement.

   9   Cloudflare apparently has no established policy to follow up on infringement
  10
       notifications to determine whether the infringing content was removed from the
  11
  12   customer site. And Cloudflare takes no steps to prevent the infringing content from

  13   continuing to be copied and distributed on its servers, even after notice.
  14
             240. Despite serving most of the world’s top pirate sites, on information and
  15
  16   belief, Cloudflare has never voluntarily terminated services (without having been
  17   sued) to a customer for repeat copyright infringement.
  18
             241. Cloudflare has, however, voluntarily terminated services for other
  19
  20   customer sites, including the American Neo-Nazi group Daily Stormer and the
  21   conspiracy website 8chan. Cloudflare’s CEO Mr. Prince decided to terminate Daily
  22
       Stormer because he was “in a bad mood,” believed “the people behind the Daily
  23
  24   Stormer are assholes,” and “decided to kick them off the Internet.” Despite having the
  25
       ability to “kick [customers] off the I\nternet,” Cloudflare continues to provide service
  26
       and contribute materially to infringement by many notorious pirate sites even after
  27
  28   being notified of their rampant copyright infringement.


                                                 64
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 65 of 89 Page ID #:413



   1      L. The Advertisers Materially Contribute to Infringement on Thothub.
   2
             242. The Advertiser are adult content creators and/or distributors that
   3
       provided financial and managerial support for Thothub pursuant to a so-called
   4
   5   “affiliate marketing” relationship through the Advertisers’ agent, CrakRevenue.
   6
             243. As part of the affiliate marketing relationship, the Advertisers’ ads
   7
       appeared on all or nearly all Thothub pages that contained infringing content.
   8
   9   Thothub’s owners received a commission for each lead and/or sale generated through
  10
       the ads on Thothub. On information and belief, these commissions were paid via
  11
       CrakRevenue in the form of cryptocurrency to prevent detection and inhibit
  12
  13   enforcement related to copyright infringement on Thothub.
  14
             244. The revenue that derived from these commissions was necessary to pay
  15
       for services that allowed Thothub to distribute infringing material to a large audience.
  16
  17   One of the primary Operators, Teller, stated in a forum post that he knew of no other
  18
       way for Thothub to distribute the content without this advertising revenue.
  19
  20
             245. The Advertisers’ advertisements on Thothub were not static images on

  21   Thothub. For example, the Chaturbate links were a direct feed into a live webcam
  22
       session on Chaturbate. The link showed live video of a female performer on
  23
  24   Chaturbate. Clicking on the link (i.e., on the image) took the user directly into a live

  25   webcam session with the depicted performer. The link did not indicate on its face that
  26
       it was for Chaturbate; rather, it appeared as Thothub-affiliated content.
  27
  28


                                                 65
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 66 of 89 Page ID #:414



   1         246. Each time the Thothub page was refreshed, a different Chaturbate live
   2
       webcam feed would appear on the page, each time linking to a different Chaturbate
   3
   4   live webcam session (occasionally repeating feeds that had previously been

   5   displayed). The connection between Chaturbate and Thothub’s content networks
   6
       appeared to be dynamic, continuous, and updated in real time.
   7
   8         247. Chaturbate live-feed advertisements also appeared on the Thothub

   9   homepage alongside other Thothub featured posts. As with the others, the Chaturbate
  10
       link appeared to be Thothub-affiliated content.
  11
  12         248. Meanwhile, the BangBros advertisements on Thothub contained graphic

  13   images of short clips (each a fraction of a second long) from scenes from BangBros
  14
       adult content that cycled repeatedly. Clicking on the links took the user directly to
  15
  16   tour.bangbros.com, where they were offered subscriptions to BangBros.
  17         249. Based on metrics such as number of total monthly visitors, number of
  18
       unique monthly visitors, average clicks per visit, and average duration of visit, this
  19
  20   space on the Thothub site had substantial advertising value.
  21         250. For example, the Website Ad Revenue Estimator tool from Oko Ad
  22
       Management estimates that a website that receives 20,000,000 visits per month with
  23
  24   an average of 8.6 page views per session—using average assumptions—would yield
  25
       over $4 million in annual revenue. The estimated annual advertising revenue jumps
  26
       to over $7.5 million, according to the Ad Revenue Estimator tool, if the traffic derives
  27
  28   primarily from the United States or other Western nations, as with Thothub.


                                                 66
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 67 of 89 Page ID #:415



   1         251. As noted above, Thothub received more than 20,000,000 visits per
   2
       month (for example, it received about 24,000,000 visitors in June 2020) with an
   3
   4   average of 8.6 page views per visit. Thus, Thothub’s advertising value may well have

   5   been even greater than the figures above suggest.
   6
             252. The advertising revenue from the Advertisers was critical to providing
   7
   8   infringing content on Thothub to a high volume of users because it enabled Thothub’s

   9   operators to purchase content hosting and content delivery services needed to
  10
       replicate, store, and distribute the infringing works.
  11
  12         253. The Operator Teller (who handled technical issues on Thothub)

  13   explained the need for advertising in a forum post entitled “ad transparency (poll)” on
  14
       June 19, 2019. He wrote that advertising was needed because “[w]e are nearing a
  15
  16   whopping 9Terabytes of data usage a day” and that “[j]ust today we put in the request
  17   for another round of server upgrades (double the forum power and double the main
  18
       website power).” He said that “[w]e try to never get ads in the way of your viewing
  19
  20   pleasure, [sic] that is why you will never find anything in between content.”
  21         254. Teller’s message concluded: “I know ads are a love and I’m sorry but I
  22
       don’t know any other way.” (The term “love” in this context appears to be an acronym
  23
  24   for the expression “loss of valuable energy.”)
  25
             255. As Teller’s message indicated, it cost a lot of money to host and
  26
       distribute the volume of data and infringing content that Teller said was being
  27
  28   distributed on Thothub even back in June 2019. By August 2020, this figure was likely


                                                  67
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 68 of 89 Page ID #:416



   1   even greater because Thothub had grown significantly to have over one million
   2
       members and was constantly adding new infringing content to its library.
   3
   4            256. According to one cloud-storage pricing comparison, data storage costs

   5   in 2020 from leading service providers (including Backblaze, Amazon Web Services,
   6
       Microsoft Azure, and Google Cloud) range from $0.005 to $0.020 per gigabyte per
   7
   8   month, and download costs range from $0.01 to $0.08 per gigabyte per month.8 Based

   9   on Teller’s statement in June 2019 that Thothub was “nearing a whopping 9Terabytes
  10
       of data usage a day,” Thothub was transmitting roughly 270 terabtyes of data each
  11
  12   month and storing at least 9 terabytes each month. Using these figures, Thothub’s

  13   storage costs ranged from $45 to $180 per month, and its data transmission costs
  14
       ranged from $2,700 to $21,600 per month.
  15
  16            257. Other sources corroborate the high costs of processing this much data.
  17   As of early 2018, for example, Amazon Web Services offered 1 terabyte of storage or
  18
       100 gigabytes of data transfer for approximately $39.63 per month. If Thothub hosted
  19
  20   and transferred 9 terabytes per day at these prices, the cost would run approximately
  21   $400 per month for storage and over $3,500 per month for data transfers.
  22
                258. From June 2019 until August 2020, the web traffic and content base on
  23
  24   Thothub grew exponentially. According to web traffic analytics, site traffic at least
  25
  26
       8
           See BackBlaze, Cloud Storage Pricing Comparison (last visited July 15, 2020), available at:
  27
  28   https://www.backblaze.com/b2/cloud-storage-pricing.html.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 69 of 89 Page ID #:417



   1   doubled. The site also picked up thousands of new members each week. Thus,
   2
       Thothub’s monthly costs for content hosting and delivery increased, and those costs
   3
   4   likely continued to increase after June 2019 as Thothub grew.

   5         259. Absent the financial support of the Advertisers, Thothub could not have
   6
       continued to provide infringing works with anywhere close to the frequency and scale
   7
   8   that it did. The Advertisers thus materially contributed to the infringement.

   9      M. The Advertisers and Thothub Were Affiliated Through CrakRevenue.
  10
             260. As discussed above, the Advertisers and Thothub were involved in a so-
  11
  12   called “affiliate marketing” relationship through CrakRevenue, pursuant to which the

  13   Advertisers paid commissions to Thothub, while their agent, CrakRevenue, provided
  14
       “affiliate management” services for Thothub on the Advertisers’ behalf.
  15
  16         261. A page entitled “How Do Affiliate Programs Work?” on CrakRevenue’s
  17   website explains that “[t]he core of affiliate marketing consists of a close relationship
  18
       between advertisers (also known as ‘merchants’) and affiliates. This same relationship
  19
  20   is governed by a thorough set of rules and details: the affiliate program. Affiliates help
  21   advertisers sell more of their products or services. In exchange, advertisers pay them
  22
       back either a percentage or a fixed amount—what is known as a commission.”
  23
  24         262. According to CrakRevenue’s site, affiliate commissions are typically
  25
       paid in one of three ways: (a) Pay per sale (PPS) when a user directly purchases
  26
       something using an affiliate’s link; (b) Pay per lead (PPL) when a user successfully
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 70 of 89 Page ID #:418



   1   enters his or her email in a form; or (c) “RevShare,” where “instead of a fixed amount
   2
       per sale, the affiliate gets X%” of user’s spending on the advertiser’s site.
   3
   4         263. CrakRevenue requires prospective affiliates to complete a sign-up

   5   process before joining its affiliate network. CrakRevenue says that it requires
   6
       prospective affiliates to “be as detailed and forthcoming as possible when it comes to
   7
   8   providing info about [their] traffic, URLs, and marketing strategies.”

   9         264. According to CrakRevenue’s website, “[a]n application is considered
  10
       incomplete if it does not sufficiently let us know: 1. how you plan to generate traffic[;]
  11
  12   2. how you plan to promote our offers[; and] 3. your complete address and profile

  13   information.” CrakRevenue states that applicants should be “transparent” about their
  14
       operations when applying to become an affiliate.
  15
  16         265. CrakRevenue explains that it “only accepts[s] the best, most qualified
  17   affiliates at our CPA network based on an extensive & thorough subscription process
  18
       overseen by a team of more than 15 Affiliate Managers.”
  19
  20         266. CrakRevenue has the ability to use advanced tools to identify affiliates
  21   or prospective affiliates that do not comply with the law. As CrakRevenue states on
  22
       its website: “Affiliate programs and networks have very advanced tools to distinguish
  23
  24   legit sources from less than desirable ones. We know.”
  25
             267. CrakRevenue also offers so-called “affiliate management” services to
  26
       affiliates. Its website explains these services as follows: “The Affiliate Manager is
  27
  28   acting on behalf of the advertiser or merchant. The Affiliate Manager develops,


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 71 of 89 Page ID #:419



   1   supports and manages an affiliate program while offering dedicated help to the
   2
       affiliates which, in turn, help [sic] drive the sales of the program.”9 In other words,
   3
   4   CrakRevenue helps manage affiliates like Thothub and provides individualized

   5   support to them in order to drive sales for advertisers.
   6
                268. On another page, CrakRevenue further explains affiliate management:
   7
   8   “Affiliate managers typically work for an affiliate network. They’re responsible for

   9   the recruitment and nurturing of affiliates throughout their online marketing
  10
       journey. One of their key missions is to improve affiliate programs by advising
  11
  12   partners all around the globe, thus helping them generate more revenue.”

  13            269. CrakRevenue says on its website that “an affiliate manager can make a
  14
       huge difference for your [i.e., an affiliate’s] operations.” The benefits to affiliates
  15
  16   include “personalized advice and tips.” As CrakRevenue explains: “Getting to know
  17   more about you and your business is a crucial part of our CPA network.”
  18
                270. Another benefit that CrakRevenue provides to affiliates: “Custom
  19
  20   Everything.” As its website explains: “Another significant perk of speaking to your
  21   affiliate manager is the ability to unlock deep customization options within the
  22
       platform. … Once you get to know more about your affiliate manager and create a
  23
  24   link, you can even ask for custom landing pages and creatives.” Thus, CrakRevenue
  25
       helps affiliates design or customize aspects of their websites.
  26
  27
       9
  28       All bolding shown in CrakRevenue quotations herein appears in the original.


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 72 of 89 Page ID #:420



   1         271. Another service that CrakRevenue provides to affiliates is the use of
   2
       “advanced tracking techniques.” As CrakRevenue explains: “Affiliate managers can
   3
   4   help you break down the big picture and pinpoint grounds for improvement. They

   5   have the knowledge and experience required to formulate precise recommendations
   6
       on a case-by-case basis.”
   7
   8         272. CrakRevenue also helps affiliates by providing “valuable feedback on

   9   [their] traffic.” As it explains: “Affiliate managers can give you their honest input
  10
       about the quality of your traffic so you start making some positive changes that will
  11
  12   bring in additional revenue.” CrakRevenue thus analyzes affiliate traffic and advises

  13   affiliates about how to maximize sales of advertisers’ services.
  14
             273. In addition, “affiliate managers are in the best position to suggest perfect
  15
  16   match offers best tailored to [the affiliate’s] traffic, type of content, GEO, etc.” In
  17   order to make such recommendations, CrakRevenue’s affiliate managers must
  18
       analyze the affiliate’s traffic, type of content, and geographic target area.
  19
  20         274. CrakRevenue summarizes these benefits as follows: “Working with a
  21   CPA network has many advantages, including support selecting the best offer for your
  22
       traffic, coaching for your sales funnel and not having to deal with various customers
  23
  24   [sic] requests. We take care of tracking your sales so that you get paid for your work,
  25
       and offer tips, tricks, tutorials and useful reading materials to help you succeed. We
  26
       develop exclusive tools to send your traffic to the best performing offers that we’ve
  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 73 of 89 Page ID #:421



   1   extensively tested to ensure high-conversion rates. Unlike specific providers who
   2
       ‘sell’ only their baby, we advise you on the best offers on the market for you.”
   3
   4            275. CrakRevenue’s marketing makes clear that it distinguishes itself from

   5   other affiliate-marketing firms by offering “personalized” support. As CrakRevenue
   6
       states on its website: “We believe a key competitive factor that help [sic] us stay
   7
   8   ahead of the pack in the affiliate industry is our personalized approach.”

   9            276. In a marketing video on Youtube,10 CrakRevenue states that it offers “top
  10
       notch support” to affiliates. The video further states in part: “What you call ‘increased
  11
  12   revenue,’ ‘highly targeted,’ and ‘guaranteed to convert,’ we call our CPA platform.

  13   What you call ‘flexible stats tracking,’ ‘maximum traffic monetization,’ and ‘higher
  14
       payouts,’ we call our offers. What you call ‘high CTR banners,’ ‘professional video
  15
  16   landing pages,’ and ‘pay per lead offers,’ we call our tools.”
  17            277. CrakRevenue communicates with affiliates through various means,
  18
       stating on its website: “Affiliate managers are available on Skype, email, live chat and
  19
  20   telephone to make sure affiliates are never left in the dark about their business.”
  21            278. On information and belief, Thothub’s affiliate manager at CrakRevenue
  22
       was Vincent Gariepý. Regarding what he does “on a daily basis,” the CrakRevenue
  23
  24   website states that Mr. Gariepý is “part of the Customer Experience Team” and “in
  25
       charge of all the onboarding and ‘welcoming’ when it comes to new affiliates.” He
  26
  27   10
            Available at https://www.youtube.com/watch?v=17PLMlMNJsA&feature=share (last visited
  28            Nov. 2, 2020).


                                                     73
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 74 of 89 Page ID #:422



   1   also “make[s] sure that our affiliates have the best experience possible with our
   2
       platform and have all the resources they need to get started the right way.” In Mr.
   3
   4   Gariepý’s words: “Working in close collaboration with our Support Team, I work

   5   alongside and coach our new affiliates to help them reach new heights.”
   6
             279. On information and belief, Mr. Gariepý spoke to an operator or operators
   7
   8   of Thothub via a now-removed Skype connection.

   9         280. The Advertisers have used CrakRevenue as their marketing agent for
  10
       years. In particular, BangBros has used CrakRevenue since at least 2015, and
  11
  12   Chaturbate has used CrakRevenue since at least 2018.

  13         281. The Advertisers have the right and ability to direct and control
  14
       CrakRevenue with respect to their work for the Advertisers. CrakRevenue has actual
  15
  16   authority to act on behalf of the Advertisers with respect to advertising placements
  17   and affiliate marketing services, including affiliate management.
  18
             282. After this lawsuit was filed, a Chaturbate spokesman told Vice News that
  19
  20   its ads were placed on Thothub “by independent third-party advertisers participating
  21   in Chaturbate’s referral marketing program.” The spokesperson said that Chaturbate
  22
       “reached out to the responsible advertisers and informed them that thothub.tv is not
  23
  24   an appropriate site for sending traffic to Chaturbate and asked them to immediately
  25
       remove any of their [Chaturbate] ads that may be appearing on thothub.tv.”
  26
             283. The Advertisers set the terms by which CrakRevenue markets their
  27
  28   programs. After this lawsuit was filed, a Chaturbate representative told a media outlet


                                                 74
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 75 of 89 Page ID #:423



   1   that “advertising on websites that use stolen or unlicensed content is against
   2
       Chaturbate’s marketing program terms.”
   3
   4         284. Similarly, a spokesperson for BangBros told Vice News that “their ads

   5   are placed using a third-party advertising network.” The BangBros spokesperson
   6
       continued that “our marketing department will reach out to the ad network asking this
   7
   8   site be put on an exclusion list.”

   9         285. Notably, neither the Chaturbate nor the BangBros spokesperson denied
  10
       that their advertisements appeared on Thothub, nor that their “third-party advertiser”
  11
  12   (CrakRevenue) had actual authority to place the Advertisers’ ads.

  13         286. Within hours of these directives from the respective Advertisers to
  14
       CrakRevenue, the Advertisers’ advertisements were removed from Thothub. Days
  15
  16   later, Thothub shut down and was no longer available online.
  17      N. The Advertisers Knew About Thothub’s Criminal Infringement and/or
  18         Such Knowledge Is Attributable to Them.
  19         287. The Advertisers knew, or are willfully blind to the fact, that Thothub was
  20
       a pirate site. In addition, this knowledge is attributable to them because their agent,
  21
  22   CrakRevenue, acquired such knowledge while working on their behalf.
  23         288. First, the Advertisers likely knew about Thothub’s infringement because
  24
       the Advertisers are each major players in the adult entertainment industry. Several
  25
  26   reviewers within the Advertisers’ industry recognized Thothub as a site that featured
  27
       works paid works stolen from the Licensed Sites and offered for free.
  28


                                                 75
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 76 of 89 Page ID #:424



   1         289. For example, the adult-content review site The Porn Dude (one of the
   2
       top Google hits for online-adult-entertainment reviews) described Thothub as “the
   3
   4   perfect place for all of you who like to enjoy thots showing you all of their goods but

   5   don’t like paying for it.” The Porn Dude added that the site offered “[f]ree content
   6
       that you’d otherwise have to pay for.”
   7
   8         290. Similarly, another reviewer, Prime Porn List, explained that Thothub

   9   was an “amateur/homemade type of site that focuses on” women from “Patreon,
  10
       Snapchat, OnlyFans, Twitch, Instagram, and so on.” The review added that “[h]ere
  11
  12   [i.e., on Thothub] you can see their videos and photos for free and all in one place.”

  13   The review also noted that the site is an “excellent option” for viewing “leaks and
  14
       premium content from” OnlyFans and Patreon.
  15
  16         291. Second, the Operators and other members on Thothub openly and
  17   notoriously proclaimed that the site was devoted to publishing stolen content from the
  18
       Licensed Sites. Thothub’s infringement was obvious from even the most cursory
  19
  20   glance at the website. In addition, the first page of Google search results for Thothub
  21   made clear that the site trafficked in stolen works from the Licensed Sites.
  22
             292. Third, on information and belief, the Advertisers (either directly or
  23
  24   through their agents) selected Thothub for advertisements because they knew the type
  25
       of content that was displayed on the site and that the site generated a high volume of
  26
       traffic. The Advertisers targeted the same niche of consumers.
  27
  28


                                                 76
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 77 of 89 Page ID #:425



   1         293. As CrakRevenue states on its website: “Some affiliates get cherry-picked
   2
       by advertisers themselves because they fit their branding.”
   3
   4         294. The Advertisers supported Thothub not only to drive their own sales, but

   5   also as a means of devaluing their competition by helping to leak creators’ competing
   6
       paid content from Licensed Sites. Creators from the Licensed Sites have become one
   7
   8   of the biggest sources of competition for the Advertisers in their industry.

   9         295. Curiously, the Advertiser Defendants’ own stolen content was not
  10
       featured on Thothub. On information and belief, the Advertisers (either directly or via
  11
  12   their agents) required that their own stolen content not appear on Thothub as part of

  13   their participation in an affiliate relationship with Thothub.
  14
             296. Finally, CrakRevenue’s knowledge is attributable to the Advertisers. As
  15
  16   the Advertisers’ agent, CrakRevenue vetted Thothub and provided affiliate-
  17   management services to Thothub. On information and belief, among other activities,
  18
       CrakRevenue analyzed Thothub’s traffic, the content on Thothub, and how to
  19
  20   maximize revenue from sales through Thothub. In addition, CrakRevenue reviewed
  21   Thothub’s disclosures about its site and conducted diligence about Thothub. As a
  22
       result, CrakRevenue knew that Thothub was a pirate site.
  23
  24                             V.     VICARIOUS LIABILITY
  25
             297. The Advertisers are vicariously liable for the actions of CrakRevenue
  26
       insofar as CrakRevenue was acting as the Advertisers’ agent. These actions include
  27
  28   (but are not limited to) CrakRevenue’s service as the Advertisers’ agent with respect


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 78 of 89 Page ID #:426



   1   to vetting Thothub as an affiliate, placing ads on Thothub, paying commissions to
   2
       Thothub, and performing affiliate management regarding Thothub.
   3
   4         298. With respect to the aforementioned actions, CrakRevenue acted with

   5   actual authority as the Advertisers’ agent. The Advertisers had the right and ability to
   6
       exercise control over CrakRevenue with respect to these activities.
   7
   8         299. Any knowledge of CrakRevenue that it had or acquired while acting as

   9   the Advertisers’ agent is attributable to the Advertisers.
  10
             300. All corporate defendants (Cloudflare, Advertisers, and CrakRevenue)
  11
  12   are vicariously liable for the knowledge and actions of their employees.

  13                                VI.    CAUSES OF ACTION
  14
                Count One: Conduct of RICO Enterprise (18 U.S.C. § 1962(c))
  15                               (against Operators)
  16
             301. The preceding allegations are incorporated as if fully set forth herein.
  17
  18
             302. There was an association-in-fact enterprise consisting of the Operators

  19   and other Thothub members (the “Thothub Enterprise”). The Thothub Enterprise was
  20
       a RICO enterprise because (a) its members had the common purpose to unlawfully
  21
  22
       steal, copy, use, distribute, and profit from copyrighted works from the Licensed

  23   Sites; (b) it had a detailed structure or organization, including a hierarchy, different
  24
       ranks for its members, and a governing set of rules determined by the Operators; (c)
  25
  26   the Operators participated in the operation or management of the enterprise by

  27   imposing and enforcing rules on other members; (d) it enjoyed sufficient longevity to
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 79 of 89 Page ID #:427



   1   accomplish its purpose and was continuously in operation from approximately May
   2
       2018 through August 2020; and (e) it functioned as a continuing unit with
   3
   4   membership, rank, privileges, and access maintained by the Operators.

   5         303. The Thothub Enterprise was engaged in interstate commerce because it
   6
       trafficked in commercial content subject to U.S. Copyright law and committed acts of
   7
   8   copyright infringement throughout the United States.

   9         304. The Operators engaged in intentional and willful conduct in service of
  10
       the Thothub Enterprise, including but not limited to, (a) committing acts of copyright
  11
  12   infringement; (b) inducing others to commit acts of copyright infringement; (c)

  13   profiting from allowing access to stolen content; (d) inhibiting enforcement actions
  14
       and inducing others to do the same; (e) purchasing instrumentalities and services for
  15
  16   the specific purpose of committing unlawful acts; and (f) imposing rules and
  17   organizational structure on the enterprise.
  18
             305. The Thothub Enterprise and the Operators individually committed
  19
  20   numerous acts of racketeering, including criminal copyright infringement. These acts
  21   were criminal because (a) Plaintiffs (and other creators on the Licensed Sites whose
  22
       works were stolen) own valid copyrights in their works; (b) Thothub members
  23
  24   repeatedly infringed those copyrights by making unauthorized copies, distributing
  25
       copies, displaying copies, modifying the works, and/or creating derivative works, and
  26
       inducing others to the same; (c) the Operators and other Thothub members committed
  27
  28   these acts willfully and with knowledge that the infringement was unlawful; and (d)


                                                 79
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 80 of 89 Page ID #:428



   1   the Operators committed these acts of direct and induced infringement for the purpose
   2
       of commercial advantage or private financial gain.
   3
   4         306. Plaintiffs’ works have commercial value in excess of $1,000.

   5         307. These criminal acts reflect a pattern of racketeering because (a) there
   6
       were at least two predicate acts and indeed many more; (b) the predicate acts were
   7
   8   closely related in that all were committed in service of the criminal purpose of the

   9   enterprise to unlawfully use, copy, steal, distribute, and profit from infringement of
  10
       copyrighted works, particularly from creators on the Licensed Sites; and (c) the acts
  11
  12   were continuous because they occurred over the course of more than two years and

  13   were accomplished through similar means for a similar purpose.
  14
             308. The acts of racketeering caused harm to Plaintiffs’ business or property
  15
  16   (including their intellectual property and trademarks) by, among other things,
  17   diverting customers, depriving them of licensing fees and reasonable royalties,
  18
       devaluing their works, and harming Plaintiffs’ business reputation.
  19
  20         309. The Operators each participated in the commission of these acts.
  21                 Count Two: RICO Conspiracy (18 U.S.C. § 1962(d))
  22                  (against Operators, Advertisers, and CrakRevenue)
  23         310. The preceding allegations are incorporated as if fully set forth herein,
  24
       including those allegations set forth above regarding the Thothub Enterprise, acts of
  25
  26   racketeering, pattern of racketeering activity, and harm caused to Plaintiffs’ business

  27   or property by reason of the racketeering.
  28


                                                 80
Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 81 of 89 Page ID #:429



   1         311. The Operators, Advertisers, and CrakRevenue agreed to facilitate the
   2
       Thothub Enterprise’s criminal endeavor to unlawfully use, copy, steal, and distribute
   3
   4   copyrighted works from the Licensed Sites. Alternatively, or in addition,

   5   CrakRevenue adopted the goal of furthering and facilitating the Thothub Enterprise’s
   6
       criminal endeavor while acting as the Advertisers’ agent.
   7
   8         312. Each of these Defendants was directly aware of the essential nature and

   9   scope of the Thothub Enterprise and intended to participate in it. Alternatively,
  10
       knowledge of the essential nature and scope of the Thothub Enterprise was
  11
  12   attributable to each of these Defendants through principles of agency.

  13         313. Each of these Defendants, either directly or vicariously through an agent,
  14
       agreed to commit, participate in, or facilitate at least two predicate offenses, including
  15
  16   numerous acts of criminal copyright infringement.
  17    Count Three: Investing Income from RICO Enterprise (18 U.S.C. § 1962(a))
  18                      (against Advertisers and CrakRevenue)
  19         314. The preceding allegations are incorporated as if fully set forth herein,
  20
       including those allegations set forth above regarding the Thothub Enterprise, acts of
  21
  22
       racketeering, and the pattern of racketeering activity.

  23         315. The Advertisers and CrakRevenue, either directly or via an agent,
  24
       received income derived from the Thothub Enterprise’s pattern of racketeering
  25
  26   activity and used the income to acquire or invest in the Thothub Enterprise.

  27
  28


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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 82 of 89 Page ID #:430



   1         316. The Advertisers and CrakRevenue knew (or such knowledge is
   2
       attributable to them through principles of agency) that such revenue was derived in
   3
   4   whole or in part from the Thothub Enterprise’s racketeering activity. The Advertisers

   5   would not have obtained this income but for Thothub’s racketeering activity.
   6
             317. The Advertisers and CrakRevenue invested in the Thothub Enterprise
   7
   8   by, without limitation, directly or indirectly paying commissions to the Thothub

   9   Enterprise. These commissions were paid, in whole or in part, in cryptocurrency to
  10
       prevent detection, inhibit enforcement and collections, and minimize paper trails.
  11
  12         318. As a result of Advertisers and CrakRevenue’s illicit payments to the

  13   Thothub Enterprise in cryptocurrency, Plaintiffs have been impaired in efforts to
  14
       enforce their legal rights against the Thothub Enterprise and its participants. This
  15
  16   injury is separate and distinct from the injury caused by the Thothub Enterprise’s
  17   pattern and practice of criminal copyright infringement.
  18
                          Count Four: Direct Copyright Infringement
  19                         (against the Operators and Cloudflare)
  20
             319. The preceding allegations are incorporated as if fully set forth herein.
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  22
             320. Plaintiffs own valid copyrights in certain photographic and audiovisual

  23   works that have appeared on Thothub (the “Works”), as described herein.
  24
             321. The Operators infringed Plaintiffs’ rights in the Works by reproducing
  25
  26   copies of the Works, preparing derivative works based upon the Works, distributing

  27   copies of the Works to the public, and displaying the Works on Thothub. The
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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 83 of 89 Page ID #:431



   1   Operators committed volitional acts by, among other things, selecting works of
   2
       particular creators from the Licensed Sites to be infringed.
   3
   4         322. Cloudflare infringed Plaintiffs’ rights in the Works by reproducing and

   5   storing copies of the Works on its servers and distributing copies of the Works to the
   6
       public through its content delivery network. Cloudflare committed volitional acts by,
   7
   8   among other things, selecting works to store on its server network and by continuing

   9   to make and distribute infringing copies after notice of infringement.
  10
             323. As a result of these infringements, Plaintiffs have suffered actual
  11
  12   damages, including lost subscription fees and royalties. Plaintiffs may also elect to

  13   recover statutory damages for infringements that occurred later than three months
  14
       before the registration date of any work.
  15
  16                 Count Five: Contributory Copyright Infringement
                 (against Operators, Cloudflare, Advertisers, and CrakRevenue)
  17
  18
             324. The preceding allegations are incorporated as if fully set forth herein.

  19         325. The Operators, Cloudflare, the Advertisers, and CrakRevenue each knew
  20
       (or such knowledge was attributable to them under principles of agency) that the
  21
  22
       Thothub Enterprise routinely committed copyright infringement.

  23         326. The Operators induced, caused, or materially contributed to the
  24
       infringing conduct, among other things, by encouraging Thothub members to commit
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  26   copyright infringement, rewarding associates for committing copyright infringement,

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 84 of 89 Page ID #:432



   1   assisting associates to avoid copyright enforcement, and providing a platform for
   2
       displaying stolen copyrighted works.
   3
   4         327. Cloudflare caused or materially contributed to the infringing conduct,

   5   among other things, by distributing the stolen works through its content delivery
   6
       network, reproducing and storing copies of the stolen works on its servers, and
   7
   8   shielding the Operators and other Thothub members from enforcement actions.

   9         328. The Advertisers and CrakRevenue (either directly or through principles
  10
       of agency) caused or materially contributed to the infringing conduct, among other
  11
  12   things, by knowingly providing funds necessary to support the infringing activity

  13   through the purchase of expensive web-hosting and content-delivery services and by
  14
       providing affiliate-management services as explained herein.
  15
  16         329. As a result of these infringements, Plaintiffs have suffered actual
  17   damages, including lost subscription fees and royalties. Plaintiffs may also elect to
  18
       recover statutory damages for infringements occurring later than three months before
  19
  20   the registration date of any work.
  21                             Count Six: Unfair Competition
  22                                 (against Advertisers)
  23         330. The preceding allegations are incorporated as if fully set forth herein.
  24
             331. The Advertisers commercially compete against creators from the
  25
  26   Licensed Sites, including Plaintiffs, in the business of online adult entertainment.

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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 85 of 89 Page ID #:433



   1         332. Plaintiffs invested substantial time and money in their intellectual
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       property, reputations, and businesses on the Licensed Sites and elsewhere.
   3
   4         333. The Advertisers, either directly or through CrakRevenue, unfairly

   5   competed with Plaintiffs by using their names, likenesses, reputations, fame, and
   6
       intellectual property to drive traffic and sales for the Advertisers’ services.
   7
   8         334. The Advertisers have also unfairly undermined competition from

   9   Plaintiffs by causing the leaking of their paywall content, which has devalued the
  10
       content and caused persons who would otherwise have purchased subscriptions to
  11
  12   Plaintiffs’ account on the Licensed Sites not to do so.

  13         335. Plaintiff has been injured through, among other things, lost sales, lost
  14
       royalties for use of their names and likenesses, and harm to their reputation.
  15
  16   Defendants have also been unjustly enriched as a result of the unfair competition.
  17                  Count Seven: Cal. Bus. & Profs. Code § 17200 et seq.
  18                                 (against Advertisers)
  19         336. The preceding allegations are incorporated as if fully set forth herein.
  20
             337. The Advertisers commercially compete against creators from the
  21
  22
       Licensed Sites, including Plaintiffs, in the business of online adult entertainment.

  23         338. Plaintiffs have invested substantial time and money in their intellectual
  24
       property, reputations, and businesses on the Licensed Sites and elsewhere.
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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 86 of 89 Page ID #:434



   1         339. The Advertisers, either directly or through CrakRevenue, unfairly
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       competed with Plaintiffs by using their names, likenesses, reputations, fame, and
   3
   4   intellectual property to drive traffic and sales for the Advertisers’ services.

   5         340. The Advertisers have also unfairly undermined competition from
   6
       Plaintiffs by causing the leaking of their paywall content, which has devalued the
   7
   8   content and caused persons who would otherwise have purchased subscriptions to

   9   Plaintiffs’ account on the Licensed Sites not to do so.
  10
             341. Plaintiff has been injured by, among other things, lost sales, lost royalties
  11
  12   for use of their names and likenesses, and harm to their reputations. Defendants have

  13   also been unjustly enriched as a result of the unfair competition.
  14
                                        VIII. JURY DEMAND
  15
  16         342. Plaintiffs demand a jury trial on all issues that may be tried before a jury
  17   in this matter and has submitted the jury fee.
  18
                                  IX.    PRAYER FOR RELIEF
  19
  20         WHEREFORE, Plaintiffs request that the Court grant the following relief:
  21             a. Order Cloudflare and the Advertisers to disclose information in their
  22                possession, custody, or control that may be used to ascertain the identity
                    of the Operators and/or any other owners or operators of Thothub;
  23
  24             b. Award Plaintiffs their actual damages (including, but not limited to,
                    reasonable royalties) and/or statutory damages under the Copyright Act;
  25
                 c. Award Plaintiffs damages for injury to their business or property, and
  26
                    treble damages for same, that occurred by reason of the Operators,
  27                Advertisers’ and CrakRevenue’s violations of RICO;
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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 87 of 89 Page ID #:435



   1           d. Award Plaintiffs equitable restitution and other proper relief for the
   2              Advertisers’ unfair competition under California law;

   3           e. Disgorge any ill-gotten gains from the Defendants as a result of their
                  illegal conduct and award them to Plaintiffs;
   4
   5           f. Award Plaintiffs punitive or exemplary damages;

   6           g. Award Plaintiffs reasonable attorneys’ fees and costs of suit; and
   7           h. Grant such other relief as the Court finds just and proper.
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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 88 of 89 Page ID #:436



   1   Dated: November 4, 2020           Respectfully submitted,
   2

   3
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   4
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Case 2:20-cv-06979-FMO-AS Document 68 Filed 11/04/20 Page 89 of 89 Page ID #:437



   1                             CERTIFICATE OF SERVICE
   2
               The undersigned hereby certifies that the foregoing document will be served
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         on all counsel of record via the Court’s electronic filing system and that attempted
   4
   5     service of this complaint will be made promptly on each newly identified
   6
         defendant at the addresses provided in Section II above.
   7
                                              /s/ Brett S. Rosenthal
   8
   9                                         Brett S. Rosenthal
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